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                  after my last visits were over], 14 guards marched me to a cage
                  [right next to] the execution chamber. When they took my handcuffs
                  off and strip searched me, they asked, ‘When we take this cuff off, is
                  there going to be any trouble?’”

                  “I felt like a slave on an auction block. They poked and prodded me
                  and made me do everything: [put my] head up, lift up my testicles,
                  bend over . . . it went on and on. It was so dehumanizing . . . I
                  watched them carry [all the execution materials past me] to the
                  death chamber. . . . At 8:17 [four hours before I was set to die], the
                  phone rang. The Supreme Court had decided not to lift the stay [in
                  my case]. . . . I felt life reenter my body. . . . I [] suffered from PTSD
                  after the incident, but I have not received [] counseling from anyone
                  . . . They didn’t offer any help – no nurse, no doctor. . . . Every time an
                  execution happens, I’ll watch the clock and relive what they put me
                  through. . . . I see my life now as being on the clock, especially after
                  they tried to kill me. It’s not a matter of minutes, but months.”259




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VI. Louisiana
        The mission’s observations about the process by which defendants are
sentenced to death in Louisiana and the cruelty of the conditions experienced on
death row prior to execution raise serious questions about the state’s adherence to
international human rights law and the Constitution of the United States.

        Located in the southern U.S., Louisiana is a largely rural state with a
population of 4.6 million.260 There are currently 88 people on Louisiana’s death
row, including two women. Since reinstatement of the death penalty in 1976, the
state has executed 28 persons. In keeping with national trends, Louisiana’s use
of the death penalty has decreased since 2000. From 1990-1999, 68 people were
sentenced to death in Louisiana, as compared with 43 people from 2000 to 2012.261
Only one of these executions has occurred since 2003: a man who volunteered to
die without undertaking appeals. Significantly, nine people have been exonerated
while on Louisiana’s death row.

        Prosecutors seeking the death penalty for a homicide in Louisiana must
charge a defendant with first degree murder, which includes one of 11 aggravating
factors.262 Until 2008, “aggravated rape of a child” (La. Rev. Stat. Ann.
§14:42) was also a crime which could warrant the death penalty.263 Louisiana has
a newly implemented system of standards and operational guidelines for capital
defenders,264 which seek to reform years of poorly funded and decentralized capital
defense. Although significant improvements have been made to this system, the
mission learned that a lack of funding and slow implementation of defense counsel
standards continue to serve as a major source of concern for Louisiana criminal
justice reformers and attorneys.

        In April and May 2013, mission representatives conducted interviews in
southern Louisiana with former inmates who have been exonerated, a family member
of the formerly incarcerated, advocates, attorneys for those on Louisiana’s death row,
and trial defense counsel. The mission was unable to gain access to visit the death row.
The Warden of Louisiana State Penitentiary also declined to meet with the mission.
Interviewees expressed their hopefulness that Louisiana will continue to decrease its
use of the death penalty but also expressed a deep skepticism that the state could ever
remedy both the widespread failings of its judicial process and the inhumane conditions
in which it houses the incarcerated. Those interviewed by the mission underscored how
the lack of integrity of the judicial process requires that the inmate be provided more
time to challenge the state’s position, while the severity of the treatment of inmates
demands that inmates spend less time under the brutal conditions of detention.

        The evidence of entrenched racial discrimination and arbitrariness
throughout the legal process and the ruthlessness with which those on death row
are treated leads the mission to conclude that the application of the death penalty in
Louisiana is fundamentally inconsistent with the United States’ obligations under
international human rights law.



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  A. Discrimination and Arbitrariness

       Of the persons currently on death row in Louisiana, 58 are African American,
  26 are Caucasian, three are Latino and one is Asian.265 African Americans are
  overly represented on death row: they make up 65% of those sentenced to death,
  while they represent roughly 32% of the state’s population.266 From 1990 to 1999,
  of those sentenced to death roughly 72% were African American, and from 2000-
  2012, roughly 63% of those sentenced were African American.267 Although the
  trend towards disproportionate convictions of African Americans has seen a slight
  decrease in later years, this over representation of African Americans is still profound
  in light of the overall population and crime data, and is particularly concerning in
  light of Louisiana’s tumultuous racial history.




      Jurisdiction                      % of persons                         % Minority                     Percent of State
                                       on death row268                                                        Population
                                          (persons)
  East Baton Rouge                20% (18)                              89% (16)                         10 % (444,526)269

  Caddo                           19% (17)                              76% (13)                         6%        (257,093)270

  Jefferson                       11% (10)                              80% (8)                          9%        (433,676)271

  Total Top 3                     51% (45 people)                       82% (37 people)                  25% (1,135,295)

  Total Statewide                 88 people                             70% (62 people)                             4,601,893272




          Interviewees identified unchecked prosecutorial discretion as one of
  the primary reasons for the discriminatory application of the death penalty in
  Louisiana. The effect of this discretion is readily apparent in both disproportionate
  conviction statistics and the variant rates of death penalty sentencing among the
  local jurisdictions in Louisiana. For example, throughout the past two decades,
  the Parishes (localities) of Caddo, East Baton Rouge, and Jefferson have
  imposed the most death sentences in the state, comprising 51% of inmates on
  death row.273 It is important to note, however, that despite these past sentences,
  East Baton Rouge and Jefferson Parish have recently decreased their use of the
  death penalty.
          Aside from the singular statutory requirement describing the 11 factors
  which can constitute first degree murder, prosecutors have total charging discretion.
  They are influenced by pragmatic questions of resources and likelihood of
  conviction, along with external political considerations. First, prosecutors must
  consider their capacity to try a capital case, which is resource intensive. Multiple
  interviewees indicated that one of the reasons suburban areas seek the death

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penalty at higher rates is that unlike small towns, they can afford the financial
and human resources necessary for a death case. Prosecutors’ decision-making is
also factored by the size of their offices and the ability of existing staff to handle
capital trials.
        The political and cultural makeup of the judicial district was another factor
repeatedly cited by many of the death penalty advocates and attorneys interviewed
as a primary contributor to the wide variations between localities in sentencing
people to death. When the culture of the area is rife with racially charged attitudes
or history, serving as both an elected official and agent of justice can be challenging
even for prosecutors with noble intentions. Notably, the areas which impose the most
death sentences are characterized as having racial tension between communities,
and a nearly even racial makeup between African Americans and Caucasians.
At its worst, the Mission heard that there was a perception that prosecutors were
enabling existing racial tensions within their locales as a measure of control and
intimidation.

        Prosecutors in Louisiana are elected, and are acutely aware of the risks
related to re-election. Still, even when confronted with strong community
pressure towards prosecuting certain crimes or defendants harshly, prosecutors
have the opportunity to seek a lesser sentence. Abolition advocates and attorneys
expressed relief that prosecutors in several districts have significantly decreased
their death charges despite this pressure. Of course, the same biases present in
the community may be reflected in the actions of the prosecutor, even if there is
no purposeful or conscious malintent. Many prosecutors may intend and believe
themselves to be fair and unbiased. Commenting on the prosecutors in a capital
friendly district, one attorney stated, “I don’t believe most of it is due to conscious
race based discrimination. It’s all under other guises.”274
         However, even when unintentional, the ramifications of racial bias on
prosecutions, and ultimately sentencing, are serious. For example, disproportionate
charging based on the race of the victim and defendant is the largest independent
disparity in the capital process throughout the country, and readily apparent in
Louisiana.275 As a Louisiana death penalty researcher observed, “[o]ne possibility
is that prosecutors’ offices, jurors, judges, investigating police officers, and others
involved in constructing a death penalty case are (consciously or unconsciously)
not as outraged or energized, on average, when an African American is murdered
as when a white is murdered.”276




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             Louisiana Parish Map with County Seat Cities




                                                                   http://geology.com/county-map/louisiana.shtml




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        For example, a statistical analysis comparing all homicides with death
prosecutions from 1990-2008 in East Baton Rouge Parish found that cases with
Caucasian victims are prosecuted as first-degree (death eligible) at about four
times the African-American victim rate.277 The rate when an African American
has allegedly killed a Caucasian (18% prosecuted) is six times higher than when
an African American is alleged to have killed another African American (3%).278
These prosecutions result in death sentences at a 2.6 times higher rate for those
who were charged with killing Caucasians, and is significantly higher (2.3 times)
regardless of any aggravators.279 In another locale which has sentenced a significant
number of the state’s death row inmates, Caddo Parish, where 78% of potential
cases were black-on-black, roughly 12% were for white-on-white crimes, and 13.4
% were black-on-white.280 By the time cases were brought to trial, 13 times as
many black-on-white crimes were tried as death eligible as compared to black-on-
black crimes.281 Looking solely at the race of the victim, crimes against whites
were prosecuted as death eligible nine times as often as murders against African
Americans.282 In Louisiana’s history, only one Caucasian has ever been executed
for a crime against an African-American person— in 1752.283
        There may also be malicious intent present in the community or the
prosecutor’s office itself. When asked about one high level prosecutor, a veteran
capital defense attorney remarked, “[redacted] is nothing but the Klan.” Interviewees
spoke of the “common knowledge” of bigots’ involvement in Louisiana government,
and indeed, a former KKK grand wizard, David Duke, was elected to the Legislature
from Jefferson Parish.284 In one disturbing incident in 2003, prosecutors in Jefferson
Parish (then the parish with the most death sentences in Louisiana), wore neckties
featuring a dangling noose and the Grim Reaper.285 The prosecutors were chastised
by the district attorney yet faced no other disciplinary action.286 Although the image
of the noose itself may be race-neutral in other contexts, it is important to recall
that in Louisiana and throughout the American south, lynching was one of the most
prominent features of the lawless era following the Civil wWar and into the turn of
the century during which African Americans were grotesquely murdered.287


                     Caddo Parish
                     Caddo Parish, the home of the last capital of the Confederacy
                     and host to a torrid history of lynch mobs and brutalism
                     against African Americans, is now one of the top locales for
                     death sentences in Louisiana. Encompassing both the city of
                     Shreveport, and a number of smaller towns, Caddo is a large
                     and racially mixed jurisdiction.288 Despite racial parity in terms
                     of population, reports indicate the Ku Klux Klan remains active
                     in the area, and local African-American politicians have been
                     terrorized.289 Until late 2011, a Confederate flag flew in front
                     of the Caddo courthouse.290 This flag was erected in 1951, just
                     twenty years after the Parish had been the lynching “capital” of
                     the state and one of the leading lynchers in the entire South.291
                     Erection of the flag outside of the courthouse during the rise of
                     the U.S. civil rights movement is seen as white intimidation with


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                         lasting implications: 76% of the men who were sentenced to
                         death row while it stood are African American.292
                                      Today, convictions in Caddo Parish are responsible for nearly 1
                                      out of 5 of Louisiana’s death row sentences.293 Caddo prosecutors
                                      tried 13 times as many black-on-white crimes as death eligible as
                                      compared to black-on-black crimes.294
                                      In the jury selection for LaMondre Tucker, an 18 year old African
                                      American who was one of the last people to face a capital trial
                                      under the Confederate flag, African Americans were struck
                                      from the jury at disproportionate rates. During the trial, jurors
                                      heard characterizations of Mr. Tucker from the prosecution
                                      which “leveraged racial stereotypes,” such as noting his alleged
                                      preference for white women, and portraying him as lazy. During
                                      jury selection some white jurors were heard to comment that they
                                      wanted to “hang the Defendant from the Confederate memorial
                                      outside of the courthouse”295 The jury ordered Mr. Tucker’s
                                      death after less than 30 minutes of deliberation.296




                  1. Jury selection


                     The racial selection of jurors is another critical factor for assessing
             discrimination in the capital process in Louisiana. Although prohibited under
             federal and state law, interviewees reported ongoing bias in jury selection, with a
             considerable number of juries containing disproportionately few, if any, minorities.
             The absence of African Americans on juries violates their right to participate fully
             in their government, and affects the fairness of a jury’s decision, even absent
             discriminatory intent. As noted in a 2006 study, “racially diverse groups may be
             more thorough and competent than homogeneous ones.”297 Jury “bleaching” or
             the removal of non-white potential jurors, has a dramatic effect in some counties.
             For example, 80% of criminal trials in Jefferson Parish have been found to have no
             effective African-American representation.298
                   Louisiana’s jury selection process contributes to the disproportionate
            removal of African-American potential jurors. First, African-American jurors are
            weeded out in the creation of the jury pool itself. Indeed, the federal government
                                       has sued Louisiana for failure to meet voter registration
“The attorney told us ‘he will requirements in low income communities.299 After
get an all white jury, and they production of a jury pool, defense and prosecution
will convict him to death,’ like it attorneys conduct voir dire—questioning of the
wasn’t even a question”                potential jurors. Following the questioning, the
                                       attorneys and judge may remove jury pool (known
– Monique Matthews Ruiz, sister as the “venire”) members   300
                                                                    for “cause,” as defined by
exoneree Ryan Matthews                 Louisiana   statute.



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        Jury “bleaching” often occurs under the guise of “death qualifying,” the
jury. For example, the prosecution can “challenge for cause those prospective jurors
who state that their reservations about capital punishment would prevent them from
making an impartial decision as to the defendant’s guilt,” or who would never
impose the penalty.301 Interviewees noted that African Americans in Louisiana
are more likely to express concern with the criminal justice system or the death
penalty as a result of their negative interactions with the system and Louisiana’s
violent racial history. As a result, they are more frequently struck for cause.302
Although the U.S. Supreme Court has found that a defendant’s rights were violated
as a result of the prosecutor striking all jurors who expressed mere concern about
the imposition of a death penalty, in practice, prosecutors often use such strikes in
order to remove as many sympathetic jurors as possible.303
        A study of Louisiana’s Caddo Parish sheds light on the attitudes of jurors
dismissed during “death qualification”. When interviewed about the impact of racial
bias on their participation in the jury, potential jurors who had been removed from
the jury pool during “death qualification” noted the presence of the Confederate flag
outside of the courthouse.304 Others underlined how personal experiences shaped
their view on the death penalty and how they could not extricate perceptions of
injustice from questions around sentencing overall:
       Like many African-Americans I know and have spoken to, I feel that African-
       American people have never known justice. Slavery and segregation are a
       testament to this. For this reason we cannot consider the death penalty as
       a real option in a capital case. Our sense that the death penalty is wrong
       also stems from the fact that it is unbalanced in its application against other
       African-Americans. 305
     Another person shared how they were personally marked by injustice and its
impact on their perception of the death sentence:
       Once you have been misperceived you are aware of misperception and its
       consequences for people’s lives. In my experience, this reality lends itself to
       a negative view of the death penalty.306
        Following the removal of jurors for cause, attorneys may use “peremptory
challenges” to strike remaining potential jurors. Attorneys do not need to provide
any reason for their peremptory challenges, and in a capital trial, each side may
strike 12 potential jurors without cause. Examples of reasons given by Louisiana
prosecutors for removing African Americans found acceptable by the trial court
include: the juror was “too stupid to live much less be on a jury;”307 a venireman
“looked like a drug dealer;”308 or the juror was a “single black male with no
children.”309 Although the U.S. Constitution forbids racially discriminatory use
of peremptory challenges, in practice, prosecutors wary of the perceived impact of
African American jurors can and do use preemptory challenges to strike them. As
noted in a concurrence by Thurgood Marshall, one of only two African Americans
to ever serve on the U.S. Supreme Court, in Batson v. Kentucky, “[a]ny prosecutor
can easily assert facially neutral reasons for striking a juror, and trial courts are ill
equipped to second-guess those reasons.”310



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         When jury members are stricken, a defense attorney has the option to
 raise a “Batson challenge” presenting evidence that leads to at least an inference
 of discriminatory purpose in the strike.311 In response, a prosecutor must provide
 a race-neutral reason for their action to strike the juror, which does not need to
 be “persuasive, or even plausible.”312 In assessing those assertions, trial courts
 are instructed to evaluate “all relevant circumstances” to determine whether the
 strikes were discriminatory.313 Despite the high level of deference to prosecutors’
 assertions, as described below, in Snyder v. Louisiana, the Supreme Court recently
 found that a Louisiana prosecutor discriminated when striking an African-American
 college student from the jury.314 The prosecutor, who had struck all five of the
 African-American jurors who survived challenges for cause,315 claimed that the
 student “looked very nervous.”316

      2. Oversight and Accountability

          The mission also found that prosecutorial discretion was not sufficiently
  regulated through post-trial oversight of Louisiana death penalty cases. Moreover,
  the Louisiana Supreme court rarely overturns cases due to racial disparities. The
  Supreme Court’s mandatory “proportionality review,” implemented after Gregg
  v. Georgia,317 seeks to determine first, whether there was an undue influence of
  “passion, prejudice, or any other arbitrary factors,” second, whether the finding of
  aggravating factors was supported by evidence, and third, whether the sentence was
  proportionate to the sentence in other similar cases.318
           This process is woefully inadequate. 319 Most notable of the shortcomings
  is that the review is only in comparison to other death sentences arising in the same
  locale..320. Second, by limiting the review to cases within the same court, trends in
  prosecutorial discretion (or even misconduct) go unchecked, as long as they are in
  keeping with recent practice. This narrow review effectively blinds the supreme
  court from seeing discriminatory patterns of charging, and fails to provide a means
  for the court to determine whether the sentences imposed are for the “worst of the
  worst” or simply the result of a flawed legal system. Indeed, the Louisiana Supreme
  Court has only reversed one death penalty case in the last quarter century.321
  Moreover, it was not until 2005 that the court, which oversees disciplinary actions
  against prosecutors, imposed its first professional sanction. Only three prosecutors
  have ever been disciplined, a surprising number in a state with a high number of
  exonerations including nine from death row.322

           In Snyder v. Louisiana in, the U.S. Supreme Court ruled on a case from
  Louisiana’s Jefferson Parish regarding a prosecutor’s use of a preemptory strike
  against an African-American college student.323 Notably, the case reached the
  Supreme Court twice; first the Court vacated the judgment without comment in
  light of its decision in Miller-El v. Dretke,324 then, after the Louisiana Supreme
  Court upheld the conviction again, the case returned to the U.S. Supreme Court
  where it was overturned because the prosecutor’s removal of the sole remaining
  African American juror was found to be racially biased.325 Although the defendant
  eventually got relief from the U.S. Supreme Court, the Louisiana Supreme Court’s
  proportionality review of the case is nevertheless notable. In its first review of
  Snyder, the court’s analysis on “passion, prejudice, and other arbitrary factors” was

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only two sentences long.326 On its second attempt, the court found that statements
made to the jury analogizing the case with the recently decided O.J. Simpson case
were “…no more compelling than other race neutral inferences to be drawn…” and
that “[n]either remark referred to Simpson’s or [the defendant] Synder’s race.”327
This blindness to the racial context in which death penalty cases are tried, particularly
in regard to Jefferson Parish, which had widely reported racial bias and disparity in
earlier death cases, is shocking.

B. Conditions of Confinement on Louisiana’s Death Row

        All those sentenced to death live in Louisiana State Penitentiary, with the
exception of two women on death row housed in an all-female facility. This former
plantation turned hard-labor prison is most commonly referred to as “Angola,” after
the home country of the enslaved Africans that worked on the original plantation.
Angola is infamous for its history of brutality and racism. Although it is widely
reported that conditions in the prison and its death row have become more tolerable
under new leadership and with the building of new facilities, conditions remain bad.                                             “DEATH ROW TIER
                                                                                                                                 AT ANGOLA”
        For at least twenty-three
hours each day, prisoners at
Angola’s death row are locked
in their cells alone, meeting
the international standards for
what is commonly considered
as “solitary confinement.”328
Each cell houses a single
prisoner, and is equipped with
a bed, desk, toilet, and space
for personal effects. Cells are
clustered in tiers, with windows
on one wall of the tier and cells
on the other. Prisoners have
limited communication with
prisoners in the adjacent cells
through the metal bars at the
front of the cell. There are no
windows within the cells, and
the prisoners’ views out of the
windows in the hallway are
obstructed. Prisoners are able
to watch shared televisions
located outside of their cells.

         Interviewees reported
that prison officials tend
to keep the most severely
mentally ill prisoners clustered
together. Being moved to this
tier is dreaded, as the prisoners

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 have been known to loudly express their anguish, throw feces, or disturb fellow
 prisoners. At times, prisoners who are not mentally disturbed are moved to that tier
 as a form of punishment. Interviewees shared how it was difficult to concentrate or
 sleep in such conditions.
          Prisoners are allowed one hour each day to exit their cells, and this time
  rotates, even occurring at times in the pre-dawn hours. During the out-of-cell time
  allotted, the prisoner may walk within the death row building, or may spend time
  outside. This outdoor area has been referred to as a “dog kennel,” “cages,” or “like
  Guantánamo” because it consists of small area which is completely fenced in. Once
  outside, the prisoner has no access to recreational activities or equipment. Some
  prisoners may sleep through their time for the day, or choose as a result of their
  mental state, not to exit. Interviewees noted some prisoners had not been outside
  in significant periods of time due to their mental state, and at least one had not been
  outside in years.
          Responding to outcry against the use of solitary confinement for the “Angola
  3” political prisoners in conditions similar to prisoners on Angola’s death row, the
  Louisiana Attorney General argued that the conditions did not constitute solitary
  confinement, stating that the prisoners were kept in cells for 23 hours a day as a
  protective restriction, and noting that they have televisions, radios, reading and
  writing materials, can shop at the prison store twice a week, and can leave their
  cells for an hour a day to shower, place phone calls, and at times go outside.329
  He further noted that the prisoners are allowed to meet with spiritual advisors,
  medical personnel and social workers as well as visitors.330 The mission considers
  that the factors the Attorney General cited are minimal provisions needed to meet
  international standards for detention. Access to modes of communication and in-
  cell recreation (such as reading) does not negate the traumatic impact of living 23
  hours of every day in a cell, particularly when this continues for months, years,
  or even decades.331 According to the Istanbul Statement on the Use and Effects
  of Solitary Confinement, solitary confinement includes being held in cells for 22-
  24 hours per day. In this environment, contact with other people may occur, but
  “[m]eaningful contact…is typically reduced to a minimum.”332 Further, in solitary
  confinement “[t]he reduction in stimuli is not only quantitative but also qualitative.
  The available stimuli and the occasional social contacts are seldom freely chosen,
  are generally monotonous, and are often not empathetic.” 333 Conditions at Angola’s
  death row meet this description.


   Tours of Angola Prison
   The prison conducts regular tours of the death row tiers, putting
   prisoners on display for visitors nearly every day. School or university
   groups are frequent visitors to death row. Although the number of
   visitors itself is not public, it is reported that at least a thousand visitors
   come to Angola prison each month.334 Prisoners have described the
   experience of being put on display as humiliating. Although the tour
   guide has discretion over their narration, prisoners have often heard
   degrading descriptions given to the tour group, and can hear the
   participants’ degrading comments. Tours include visits to the room

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 where executions take place. As the sister of a death row exoneree
 explained, “A lot of kids looked forward to going to Angola; that was
 our 6th grade field trip. We were all convinced this was a good thing.
 Now I see that the tour terrorizes those on the row, and it teaches kids
 the wrong lessons.”335
 The mission concludes that tours of Louisiana’s death row violate
 prisoners’ rights to privacy and dignity. This “much sought after tour
 destination,” according to the Louisiana Department of Corrections,
 serves to humiliate the prisoners on death row.336 The Louisiana
 Department of Corrections permitting the regular entry of members of
 the public, including youth, exposes inmates to disparaging remarks
 and insults. Putting prisoners on display has been considered a
 human rights violation, violating ICCPR Articles 7 and 10.337 Article
 45(I) of the Standard Minimum Rules, although not contemplating the
 public would be allowed into a prison, notes that when prisoners are
 outside of the prison, “they shall be exposed to public view as little as
 possible, and proper safeguards shall be adopted to protect them from
 insult, curiosity and publicity in any form.” Angola not only fails to
 shield the prisoners from public view, but seeks to put prisoners on
 display in what should be a safe environment, their home. Such action
 is degrading and must be ceased.



    1. Temperature


        Housed in a brick building with limited air circulation and without air
conditioning, death row prisoners suffer from the effects of sweltering Louisiana
summers. As reported in recent litigation challenging these conditions under the
Eighth Amendment to the U.S. Constitution and the Americans with Disabilities
Act, the heat index338 regularly reached over 111 degrees Fahrenheit/44 degrees
Celsius, into the “Danger” and “Extreme Danger” classifications for each day in
August.339 At these temperatures, prisoners “suffer from cramps, rashes, nausea,
headaches, dizziness, chest pain, profuse sweating, and sleeplessness as a result of
this extreme heat.”340 Underlying health problems are exacerbated and the risk for
heat stroke or other complications are high.341
        Despite these conditions, little is done by the prison to alleviate the suffering
caused by the heat. Although official policies require the provision of “fluids and
ice, the allowance of additional showers and/or cold, wet towels, and increased
ventilation to the area,”342 these are not regularly supplied. Showers are scalding
hot. Prisoners can only access ice during their daily out-of-cell hour, and it is often
“unsanitary and infested with insects.”343
        The impact of these extreme temperatures is unhygienic and dehumanizing
conditions that persist for weeks or months at a time. As one exoneree notes, “guys
will throw water from the toilet onto the floor to cool off. They’ll sleep on the floor
to stay cool.”344 Many stay on the floor even though it exposes them to fire ant


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 bites, which are prevalent within the cells. As a form of punishment for perceived
 misbehavior, prisoners can also be moved to the hotter tiers, where conditions are
 even more grueling.345 Notably, the guard station is air conditioned.346

      2. Recreation


          Death row inmates at Angola are not allowed to participate in the recreational
  or rehabilitative programming offered to most prisoners such as work programs,
  training or educational programming. Not only does this policy deny death row
  prisoners the rehabilitative benefits of the programs themselves, but the denial of
  programming ensures the prisoners’ confinement to only death row and the cages
  surrounding it.
          Recently, in response to a prisoner’s artwork being sold online, Angola
  instituted a policy which denies prisoners the ability to make art even within their
  cells. Under this new rule, prisoners are not only denied formal art supplies, but are
  even forbidden from informal and personal expressions. The policy has sparked
  paranoia and concern on death row, as, “if they so much as draw a stick figure,
  they’ll get written up.”347 Several attorneys for death row prisoners noted that this
  is having a profound impact on clients’ mental wellbeing with one attorney noting
  that his client “is deprived of the one thing that gives him hope.”348


  Art in Angola Prison
  Not only does the prohibition of creating art in Angola’s death row demoralize
  inmates and deprive them of its rehabilitative effects, it also violates their right to
  freedom of expression. In addition to the protections under the First Amendment of
  the U.S. Constitution, the ICCPR protects the freedom of expression, which includes
  “freedom to seek, receive and impart information and ideas of all kinds, regardless
  of frontiers, either orally, in writing or in print, in the form of art, or through any
  other media of his choice.” 349



      3. Contact with family and attorneys


          According to attorneys and prisoner advocates interviewed by the mission,
  family members are able to speak on the telephone with their loved ones on
  death row during the one hour per day that the prisoner is allowed out of their
  cell. However, the mission was informed that because the out-of-cell time rotates,
  on some days prisoners can only make calls placed in the middle of the night.350
  Moreover, interviewees indicated that calls are expensive, and many struggle to
  afford them.
         Angola prison is located in an isolated region of Louisiana, several hours
  away from the areas which are home to most of the men on death row. It is
  challenging for many families to afford to make the trip, including taking time off

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of work for the travel. As such, attorneys and prisoner advocates note that visits can
pose a financial burden and can be difficult for families to arrange. Furthermore, the
prison’s disciplinary actions, which can result in visitation being taken away, may
occur with short notice. The cancellation of visits due to perceived misbehavior
is a major source of stress that adds to the difficulty that
families face.351 When meetings do occur, prisoners are “The first time I saw him in
allowed a limited number of “contact,” family visitations, those conditions I screamed
meaning the inmate is in the same room with his family, and hollered like a crazy
with hands un-cuffed and legs shackled. The ability to woman. I just couldn’t take
meet with family and maintain family ties is cited as it.”
one of the key factors in keeping prisoners sane in an
otherwise isolating environment.                               – Monique Matthews Ruiz, sister
                                                                                        of exoneree Ryan Matthews
        Prisoners are only allowed non-contact visitation
with attorneys. As one attorney for prisoners on death
row explained, when discussing his clients’ isolated conditions: “It’s worse than
typical prison because of the mental anguish and torture conditions. You’re waiting
for someone to kill you, while you’re stripped of even the most basic humanity of
simply shaking someone’s hand.”352 The visits are conducted through a glass pane
using a phone to talk. One attorney noted that the glass, although clear enough
for typical conversations, impedes the ability to observe the small mannerisms
which can indicate mental distress.353 Phone calls are recorded, including attorney
calls. The mission was informed that it is possible to request non-recorded calls
for attorneys once a week, however, attorneys interviewed expressed their mistrust
regarding the security of these calls and noted that arranging them in advance can
be onerous.

   4. Medical Care


        Prisoners at Angola’s death row have regular access to doctors for basic
needs, but the quality of care for more serious or chronic health needs is lacking.
Reports from mid-2012 indicate that many doctors working in Louisiana’s state
prisons have been disciplined by the licensing board for serious infractions or even
criminal convictions. A local newspaper explained that the prisons, including Angola,
“appear to be dumping grounds for doctors who are unable to find employment
elsewhere because of their checkered pasts, raising troubling moral questions as
well as the specter of an accident waiting to happen.”354 In fact, Louisiana licensing
standards include specific provisions that restrict medical practice to institutions or
prisons, thereby implying a lesser standard of care for those at risk. The Assistant
Medical Director of Angola has such a restriction on his license, reportedly as a
result of a conviction on drug charges.355
        The hospital at Angola is also notoriously unhygienic. The mission was
informed that ventilation ducts are covered in mold and as a result air circulation is
limited. Visitors to the hospital have noted that at least a portion of the facility has
an ongoing problem with flies, with fly traps hanging from the ceiling directly over
bedridden patients. Interviewees report that medication is not always available.356
       Prisoners sentenced to death have been kept isolated even while seeking

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             care in the hospital. Doctors cannot order a prisoner/patient removed from solitary,
             regardless of how it is affecting their physical or mental health. In 1992, the
             Louisiana Supreme Court found that Michael Perry, a mentally ill prisoner who
             had been institutionalized prior to his conviction in 1983, could not be forcibly
             medicated in order to ensure his mental competency to be executed. 357 Despite
             the court’s finding that “his underlying insanity can never be permanently cured or
             quelled”358 Perry has been deteriorating in solitary confinement for decades rather
             than receiving specialized care.
                        There is no mental health hospital for those found to be incompetent for
                execution, nor for those whom solitary confinement is further damaging to their
                mental state. Inmates speak with counselors through the bars of their cells, where
                there is little possibility to build intimacy and there is no privacy from guards or
                nearby inmates. Intensive, one-on-one treatment with a psychotherapist is not
                provided. For many prisoners, the only relief is through medication.

                     The need for intensive mental health services is desperate, considering
              the impact of prolonged solitary confinement on the sanity of the prisoners. The
                                   majority of current death row prisoners have spent at least a
“[T]he sanest people go nuts decade on death row. The longest period a current prisoner
in this environment.”              has been on death row is 28 years.359 Among attorneys and
                                   advocates interviewed, there was a widely held belief that all
– Veteran capital defense those on death row have serious mental health issues. Even
attorney, Louisiana                those who suffered from few, if any, problems at the beginning
                                   of their sentence are now struggling to maintain their sanity.
                         Mental anguish faced by prisoners is further exacerbated by the appeals
                process itself. Prisoners are often given execution dates at each stage in the post-
                trial process. To go from a trial to final appeal has been described as a roller coaster,
                with hope and despair, which for many inmates and their families includes the
                terrifying anguish of anticipating the inmate’s execution.
                 John Thompson had been convicted of murder in 1985.360 In the fourteen years he
                 spent on death row, Thompson was given six dates for his execution, all procedurally
                 stayed so that he could continue appeals. With each new writ of execution, the pressure
                 on Mr. Thompson became “more crushing” and forced him to think about his life as “a
                 constant countdown to lethal injection.”361 After his defense team exhausted all formal
                 avenues of appeal, he was given his seventh date, which he knew would be his last. Mr.
                 Thompson prepared to die. He sought to tell his youngest son about his scheduled death,
                 which would occur the day before the boy’s high school graduation, but his son’s teacher
                 unknowingly informed him first, announcing the upcoming execution to his class.362 Just
                 weeks before his scheduled execution, a private investigator on John’s case discovered
                 scientific evidence of his innocence which had been hidden by the prosecutor’s office. His
                 life was spared and Thompson returned home. In addition to evidencing the struggles of
                 those on death row, Thompson’s case is a prime example of the lack of redress for victims
                 of due process violations and torture and cruel, inhuman, and degrading treatment.
                 Upon release from prison, Thompson was given $10 and a bus ticket. Although a jury
                 later awarded Thompson $14 million in damages, the Supreme Court reversed this
                 award due to immunity protections the U.S. provides prosecutors.363 Mr. Thompson is
                 now organizing other exonerees in his community and across the nation to seek better
                 prosecutorial oversight and options for redress. 364

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        According to a former inmate and other interviewees, many prisoners enter
death row in a stable mental state, but their mental health may deteriorate over time.
      The mental breakdown follows a pattern, with the first sign being they get
      paranoid, even of their allies and friends. They want to whisper, to keep
      quiet. They start to hear things. All friendliness is gone. They often remove
      their lawyers from the visitors list, even though they’re the ones doing the
      most help to keep them alive and keep them sane.365
      Attorneys working with inmates on death row indicated that a large portion
of their work consists of supporting their client’s mental stability, and that several
clients have considered volunteering for early execution due to the unbearable
nature of their conditions.

   5. Current Challenge to Means of Execution


        Two inmates currently on Louisiana’s death row challenged Louisiana’s
refusal to disclose its execution protocol in federal court. The protocol, released
in 2013 as a result of the lawsuit, involved a change from a controversial three
drug cocktail to the sole use of pentobarbital.366 This switch occurred as a result of
international pressure cutting of sources of sodium thiopental, which was formerly
used by Louisiana.367
        An attorney representing prisoners in this federal challenge said, “we still do
not know whether any medical authorities were consulted regarding the incorporation
of (pentobarbital); the original source or expiration date of the new drug; how the
drug is to be administered; or the training of personnel who will implement the new
procedure for the first time,”368 The imminent execution of one of the inmates,
Christopher Sepulvado, had been stayed pending resolution of the case seeking the
release of the protocol and in particular information on the drug’s use, storage, and
expiration.369




                                                                                                                               Cemetery at Angola
                                                                                                                               Prison http://
                                                                                                                               en.wikipedia.org/wiki/
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  VII. Mission Findings
  A. Discrimination

      The mission finds that California and Louisiana’s practices in charging and
  trying defendants with capital offences, and sentencing defendants to death is
  discriminatory. The HRC determined that “[i]n capital punishment cases, the
  obligation of States parties to observe rigorously all the guarantees for a fair trial
  set out in article 14 of the Covenant admits of no exception.”370 The standard of
  review for the trial process in death penalty cases is strict and a “heightened level
  of scrutiny” is required in reviewing death penalty convictions, given the grave
  consequences of an imperfect conviction.371 The capital trial process in California
  and Louisiana cannot withstand such scrutiny; discriminatory actions and effects
  in both states are obvious and unacceptable. Discrimination in jury selection
  compounds the initial harm arising from charging decisions and a failure to remedy
  these harms through judicial review further compounds the violation. The failure to
  ensure equal application of laws and policies, and provide racial and ethnic groups
  with proceedings that respect their right to a fair trial contravenes the international
  prohibition against discrimination.

          Two indicators of racial discrimination are the number and proportion of
  minorities in prison, and the handing down of harsher sentences to those groups.372
  Both indicators are present in California and Louisiana. The justice systems in the
  mission states, tainted by racial bias from the charging onward, have produced death
  rows on which minorities are disproportionately represented; this is particularly true
  with regards to African Americans. In California, the ratio of African Americans
  on death row is nearly six times their percentage in the population at large, and
  in Louisiana, the percentage of African Americans is double their representation
  in the population. It is widely reported that the proportion of persons sentenced
  to death who are minorities does not correlate with the rates of all death eligible
  murders. As set forth above, the disparities are even more stark in cases where
  the victim is white. Indeed, as the CERD Committee found, “there is a disturbing
  correlation between race, both of the victim and the defendant, and the imposition
  of the death penalty.”373 The disproportionate use of the death penalty against
  African Americans is evidence of a legal regime which has the effect of “nullifying
  or impairing the…enjoyment or exercise, on an equal footing, of human rights and
  fundamental freedoms”374 including the basic right to life.
          Statistics are regularly found to be reliable evidence in cases addressing
  discrimination, and are particularly helpful in understanding widespread and
  systemic discrimination. 375 Treaty bodies and regional human rights courts have
  found discriminatory effects constitute a violation of the principle of equality and
  non-discrimination based on statistical evidence, including when discriminatory
  intent has not been established.376 Regional human rights courts have held that once
  a victim establishes the state has created or perpetuated a difference in treatment

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tending to show discrimination, the government bears the burden of proving the
difference is “the result of objective factors unrelated to any discrimination…”377
The mission does not find any objective explanation for the disproportionate
number of minorities charged and tried with capital offenses and sentence to death
in California and Louisiana.

   1. Charging Patterns and Practices

        Reports indicate that the discretion granted to elected prosecutors in
California and Louisiana and California contributes to inconsistent and biased
use of the death penalty. Some of the clearest indicators of racial disparity – and
discrimination – in the death penalty context arise in
the prosecutor’s choice to charge those who kill whites, Capital eligible offenses: California
and minorities who kill whites in particular, with crimes and Louisiana have regularly
punishable by death at significantly higher rates. In the increased the number of death eligible
mission states, this trend in racially biased charging factors in their death penalty statutes.
exposes Hispanics and African Americans charged with Continually adding more death
killing white victims to the risk of death at rates up to eligible offenses further broadens the
13 times greater than the rate of those with African- ability of a prosecutor to seek death
American and Hispanic victims. This charging process for homicide suspects and violates
strongly suggests prosecutors are biased, consciously international standards against the
or unconsciously, against minorities.                     practice. The American Convention
                                                          on Human Rights, Article 4(2) notes
     2. Jury Selection                                    that the death penalty “shall not be
                                                          extended to crimes to which it does
                                                          not presently apply.” Upon its last
        Denial of the ability to participate in juries review of the U.S., the Human Rights
strips African Americans of the right provided for in the Committee expressed its concern
ICCPR to “take part in the conduct of public affairs” with the continued expansion of the
and “to have access, on general terms of equality, to death penalty to additional offenses.
public service in his country.”378 The statistics clearly
demonstrate that the process of jury selection in the mission states produces a
discriminatory effect. It ensures that the voices of African Americans are absent, or
minimized, in one of the most important functions of government, in such a way as
to impact verdicts.
         A comparative example from the European Court of Human Rights is
instructive. The court considered the issue of discriminatory jury selection in the
context of the Maltese judicial system, in which statistical evidence established
a disproportionately low number of women on juries. As in the mission states,
there were no explicitly discriminatory laws related to jury selection. However
discrimination was a part of “a well-established practice, characterized by a number
of factors, such as the manner in which the lists of jurors were compiled and the
criteria for exemption from jury service.”379 The court considered these claims,
recalling that discrimination is not only evidenced by laws themselves, but can
also arise from a “de facto situation.”380 The Court rejected the government’s
justification, which included claims that dismissals from jury service were often
based on work and family obligations, and that “for cultural reasons” there was a

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       tendency for the defense to challenge female jurors.381 Similarly, in the mission
       states, there is no reliable explanation that could justify the consistent overuse of
       strikes against African-American potential jurors.
                 Finally, the removal of African Americans from the jury furthers the
         belief by a significant part of the public that the courts are not impartial. Such an
         undermining of public confidence in the judiciary can “adversely affect the fairness
         of the procedure.”382 The Inter-American Commission has found that the standard
         on this issue of impartiality is an objective one based on “reasonableness, and the
         appearance of impartiality”383 and that a court must consider whether there “is a
         real danger of bias affecting the mind” of the jurors.384 Aside from any conscious
         bias, diverse groups have been found to exhibit better decision making; deliberating
         longer, discussing a wider range of facts and perspectives, and making fewer errors
         and more corrections.385 The mission heard repeatedly that removal of African
         Americans does create the appearance of a partial tribunal – a view also shared by
         academics and advocates alike.386 This is particularly true in Louisiana where there
         is the perception that prosecutors seek an all-white jury for the specific purpose of
         sentencing a defendant to death. Although the presence of an all-white jury has not
         been considered proof in itself of discrimination, courts reviewing the issue in the
         capital context have considered the racial makeup of juries in their findings.387

              3. Checks on the process


Both trial level judges and prosecutors                Article 14, paragraph 5 of the
are elected in California and Louisiana,      ICCPR establishes the right to have one’s
leading to further concerns over              conviction and sentence reviewed by a
impartiality. The HRC has repeatedly          higher court. Review of lower court rulings
concluded that political influence on         must be undertaken in as timely a manner as
judges is an unacceptable affront to the      practicable; and the delays experienced in
independence of the tribunal. The Human       California and Louisiana are unacceptable.
Rights Committee’s General Comment No.        Critically, such a review must be substantive
32 provides that “States should take specific and must address both fact and law.388
measures guaranteeing the independence        The high number of exonerations and
of the judiciary, protecting judges from      commutations from death row at the federal
any form of political influence in their      level in both California and Louisiana suggest
decision-making through the constitution      that serious systemic problems at the trial
or adoption of laws establishing clear        level are contributing to unjust convictions
procedures and objective criteria for         which may not be remedied for decades.
the appointment, remuneration, tenure,        These include lack of adequately trained and
promotion, suspension and dismissal of the    qualified defense attorneys, lack of resources
members of the judiciary and disciplinary     for thorough investigations, and racial bias..
sanctions taken against them.”389             Local courts, for example, fail to remedy the
                                              non-invidious evidence of discrimination,
         such as the intimidation presented by flying a Confederate flag at the courthouse or
         the numerous instances of racially biased public statements by prosecutors.




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B. Torture and Cruel, Inhuman or Degrading Treatment


         “A prolonged stay on death row, along with the accompanying conditions,
constitutes a violation of the prohibition of torture itself,”390 according to the Special
Rapporteur on Torture. Prolonged isolation with the limited social and intellectual
stimulation described herein, combined with the constant confrontation with “the
lengthy and anxiety-ridden wait for uncertain outcomes,” result in “mental trauma
and physical deterioration” frequently referred to as “death row phenomenon.”391
Over two decades ago, the European Court of Human Rights identified “death row
phenomenon.”392 It found that the conditions on death row a young prisoner would
face if extradited to the U.S. state of Virginia would violate the European Charter’s
prohibition against cruel, inhuman or degrading treatment, and therefore refused the
extradition request.393 Shortly after, the Privy Council of the British House of Lords
found that a delay of more than five years on death row in itself would provide
strong ground for a claim of inhuman or degrading punishment.394 Just less than
a decade later, the Inter-American Commission found that a prisoner’s suffering
from death row phenomenon was cruel, inhuman or degrading treatment.395 Thus,
there is consensus at the international level that death row phenomenon constitutes,
at minimum, cruel, inhumane, or degrading treatment, and could also constitute
torture.396
        Death row phenomenon for prisoners in California and Louisiana results
as a combination of indefinite solitary confinement and isolation, inhumane prison
conditions, and a lengthy and uncertain wait for execution. In California, the
anxiety and horror of waiting for an execution date is exacerbated by the length
of time prisoners spend on death row – in some cases for 20 or 30 years – in a
constant state of uncertainty. Louisiana death row prisoners have expressed the
terror at seeing their fellow inmates leave for execution, especially when uncertain
of whether their own death may be a year or a decade away. In both states, lengthy
waits in isolated and difficult conditions, while receiving multiple execution dates,
contribute to severe suffering characteristic of the death row phenomenon.
        The use of solitary confinement and the                              First-hand account of John Thompson,
violations of international prison conditions                                exoneree who spent over a decade on
standards described herein, particularly when                                Louisiana’s death row:
assessed in light of the vulnerability of death
row prisoners and the decades spent in these                                 “One summer they executed eight men.
conditions, readily give rise to a finding of                                They executed one on August 29, while I was
cruel, inhumane and degrading treatment. The                                 in jail, because I hadn’t been transferred
mission finds that, particularly in cases involving                          even a year after conviction…I saw it on
prolonged or indefinite periods of solitary                                  the news. Then, on September 1st I was
confinement, the conditions for many prisoners                               called up. I was being moved to death row,
on death row further gives rise to credible claims                           but no lawyer had ever explained what
of torture.                                                                  the process was. I had no idea, thought
                                                                             I was being called up to die. All I could
       The mission further finds that the                                    think is “I’m dying today.” Instead, I was
conditions of confinement for death row prisoners                            brought to Angola. I walked on the grounds
are widely considered a part of the inmate’s                                 the first time and it looked and felt like a
punishment, imposed on prisoners as a result of                              concentration camp.”

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 their status as condemned. In fact, the attorney defending Louisiana’s extreme
 heat conditions has stated, “[t]hey’ve been subject to their treatment because of
 their statuses as death row inmates…it’s the price offenders pay for their crimes
 against humanity.”397 Particularly when viewed in combination, the totality of the
 death row prisoner’s mental and physical pain and suffering described below is
 undoubtedly severe.

      1. Solitary Confinement

         Solitary confinement constitutes the most striking threat to human dignity
  of death row prisoners in the mission states and contributes significantly to the
  degradation of their mental and physical well-being.398 As concluded by the Special
  Rapporteur on Torture,
                   Considering the severe mental pain or suffering solitary confinement
                   may cause when used as a punishment, during pretrial detention,
                   indefinitely or for a prolonged period, for juveniles or persons with
                   mental disabilities, it can amount to torture or cruel, inhuman or
                   degrading treatment or punishment.399

          The Special Rapporteur has concluded that “solitary confinement used
  on death row is by definition prolonged and indefinite and thus constitutes cruel,
  inhuman or degrading treatment or punishment or even torture.”400 The vulnerability
  and lack of oversight inherent in the use of solitary in the mission states’ death rows
  runs contrary to international standards calling for the regulation and oversight in
  the use of solitary. As the Principles and Best Practices provide most succinctly,
  solitary confinement should be allowed only:

            as a disposition of last resort and for a strictly limited time, when it is
            evident that it is necessary to ensure legitimate interests relating to the
            institution’s internal security, and to protect fundamental rights, such as the
            right to life and integrity of persons deprived of liberty or the personnel. In
            all cases, the disposition of solitary confinement shall be authorized by the
            competent authority a shall be subject to judicial control, since its prolonged,
            inappropriate or unnecessary use would amount to acts of torture, or cruel,
            inhuman, or degrading treatment or punishment.401
          The solitary confinement regime practiced in the mission states relegates
  inmate’s sanity to the control of prison administrators, until they grant release
  —or the inmate is executed. This is contrary to the Inter-American Commission’s
  requirement that “[u]nder no circumstances may the solitary confinement of an
  individual be left exclusively in the hands of the authorities in charge of the centers
  of deprivation of liberty without proper judicial oversight.”402 This classification-
  based solitary and its lack of oversight are particularly detrimental to those facing
  serious mental health challenges. The Special Rapporteur has stated that “[w]here
  the damaging effects of solitary confinement on a particular individual are known,
  the regime cannot continue.”403 In keeping with this principle, regional bodies
  have required or suggested prisons conduct regular assessments of those committed
  to solitary for their ability to withstand such treatment.404 However, the mission


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states continue to confine a large number of prisoners whose mental deterioration
is closely linked to their isolated status, and, in one case in Louisiana, continues to
isolate at least one prisoner who has been found so mentally incompetent that he
cannot be executed.
        The use of solitary confinement in California and Louisiana, like solitary in
prisons across the United States, is also damaging as a result of its prolonged nature.
As the Special Rapporteur on Torture observed, “the longer the duration of solitary
confinement or the greater the uncertainty regarding the length of time, the greater
the risk of serious and irreparable harm to the inmate that may constitute cruel,
inhuman or degrading treatment or punishment or even torture.”405 The Special
Rapporteur has called for “an absolute prohibition” on confinement lasting over 15
days; any longer is considered prolonged and may be “torture or cruel, inhuman
or degrading treatment or punishment, depending on the circumstances.”406 The
European Committee for the Prevention of Torture and Inhuman or Degrading
Treatment or Punishment recommends that states use solitary confinement as a
punishment for no more than 14 days, and “preferably lower.”407 Prior to the Special
Rapporteur’s recommendation, the European Court determined that a detention
in solitary confinement for three years was a violation of the prohibition against
torture and cruel, inhuman or degrading treatment.408 The decades spent in solitary
confinement in the mission states well exceeds these time periods.

         In addition to the physical isolation of inmates in their cells, the mission states
implement further practices which serve to isolate prisoners from social contact,
contrary to the requirements of international law.409 Louisiana’s ad hoc control of
visitation rights by prison officials, and its practice of allowing phone calls only during
one pre-assigned hour a day, and California’s policy of denying all communication
by phone and all contact visits for Grade B inmates place unacceptable burdens
on the ability for inmates to communicate with their loved ones. These practices
may be contrary to the HRC’s finding that under provision of Article 10(1) of the
ICCPR “prisoners should be allowed under necessary supervision to communicate
with their family and reputable friends at regular intervals, by correspondence as
well as by receiving visits.”410 Additionally, the failure of Louisiana to provide for
ample and unmonitored communication with attorneys is a detriment to their legal
representation.411
         The Inter-American Court has found the prohibition against cruel, inhuman or
degrading treatment violated where prisoners were held in unacceptable conditions
and prisoners were characterized as “suffering lack of communication or restrictions
to visits”412 and recommended the transfer of prisoners to penitentiary centers close
to their families.413 In addition to the suffering separation caused the prisoners,
the Inter-American Court found that the inmates’ families endured “great pain and
suffering and have been constantly worried as a consequence of the degrading and
inhuman detention conditions suffered by the alleged victim, the isolation to which
he was subject, the distance and inaccessibility of the different penitentiaries to
which he was transferred. All of the above constituted a violation of the mental and
moral integrity of the alleged victim’s next of kin.”414 The testimony provided to
the mission from prisoners’ family members, who described their continuous and
prolonged anguish regarding the conditions of confinement and sentence of their
love ones, describes facts similar to those the court found impermissible.

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         The mission finds that indefinite and prolonged solitary confinement and social
 isolation in the mission states results in severe mental suffering. Prisoners, former
 prisoners, and their attorneys have attested to the gradual decline in mental health
 that the prison regimes create. Although difficult and unnecessary to distinguish
 the harms caused by each aspect of prison conditions, solitary confinement has
 repeatedly been referred to as a major source of the inmates’ suffering.

      2. General conditions of confinement

          For death row prisoners in the mission states, who are imprisoned in their
  cells for extended periods of time, the unsatisfactory conditions of confinement
  significantly add to the suffering. Conditions of confinement in Louisiana and
  California do not meet international standards. The mission is concerned with the
  widespread perspective that inmates on death row are owed a lesser standard of
  treatment as a result of their sentence.

          General cell conditions in Louisiana fail to meet international standards.
  For example, the death row at Angola prison has insufficient windows; there are no
  windows within the cells, and the windows in the building are shuttered, providing
  only minimal ventilation and light. This contravenes the Standard Minimum
  Rules requiring windows “large enough to enable the prisoners to read or work by
  natural light, and shall be so constructed that they can allow the entrance of fresh
  air whether or not there is artificial ventilation.”415 Further, the presence of biting
  fire ants violates the Standard Minimum Rules on proper maintenance.416 Finally,
  the general cell conditions are often unsanitary.
          Access and facilities for recreation, particularly critical for those inmates
  in solitary confinement, is noticeably lacking in both mission states. Not only
  do the Standard Minimum Rules require access to the outdoors daily, but also
  provides that “[y]oung prisoners, and others of suitable age and physique, shall
  receive physical and recreational training during the period of exercise. To this end
  space, installations, and equipment should be provided.”417 In contrast, prisoners
  in mission states are not given equipment necessary to ensure their recreational time
  is useful for the maintenance of their physical wellbeing; prisoners in California do
  not receive daily outdoor recreation time and may sometimes be denied recreation
  time for weeks; and prisoners in Louisiana are not allowed to participate in group
  recreation.
          Finally, the mission observes that the amount of discretion given to guards
  for imposing disciplinary measures leads to abuse and punishment that is overly
  harsh and arbitrary. For example, prison staff at San Quentin are allowed to
  send prisoners to solitary confinement inside the Adjustment Center for months
  at a time for infractions as minor as possessing more than $5, and may impose
  solitary indefinitely on any prisoner found to be “disruptive to the normal operating
  procedures of the institution.”418 Additionally, the mission expresses concern about
  the use of informal disciplinary measures in Louisiana, such as forcing inmates to
  move cells for perceived misbehavior and recalls that due process applies to all
  disciplinary action.419 Such a practice can be disturbing or even destabilizing for
  prisoners already under extreme mental stress.


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                Heat in Angola prison
                One of the most disturbing prison conditions reported to the mission
                was the use of extreme heat in Angola prison. This heat, which
                regularly exceeds a heat index of 110 degrees F (44 C), creates unsafe
                and painful conditions for those on death row, who are locked in
                their sweltering cells for at least 23 hours each day with no respite.
                The Principles and Best Practices on the Protection of Persons
                Deprive of Liberty in the Americas specify, in addition to the general
                norm of humane treatment, that prisons shall have “appropriate
                ventilation and heating, according to the climatic conditions…”420
                Both the Principles and Best Practices and the Standard Minimum
                Rules specifically note the requirement that bathing needs be met in
                a fashion appropriate for the climate.421 The European Court has
                found treatment was inhuman where inmates are exposed to extreme
                temperatures,422 and other courts have noted conditions of extreme
                temperature in their findings of torture or other cruel, inhuman or
                degrading treatment.423

   3. Provision of medical care

         The provision of medical care, including mental health care, constitutes
part of the State’s obligation to provide humane treatment,424 and should be of the
best available quality regardless of the inmates’ status as prisoners.425 Although
the mission is not in a position to address the specific health needs of individual
prisoners, reports raised concerns that the quality of medical and mental health care
for chronic and complex problems is insufficient. In California, the policy of not
transferring prisoners who are severely mentally ill to appropriate care facilities do
not conform with international standards, which require the transfer of prisoners
who require specialist treatment “to specialized institutions or civil hospitals.”426
The mission is particularly disturbed by reports from Louisiana that indicate medical
licensing boards knowingly relegate certain practitioners to Angola prison as a
result of their violation of the professional code, or even criminal law. Although
this is not per se a violation of the prisoners’ human rights, it tends to evidence a
lesser standard of care for those in detention. Notably, this practice is contrary to
Principle XX of the Principles and Best Practices which states “the personnel shall
be carefully selected, taking into account their ethical and moral integrity….”427
        Further, the availability of mental health care for disturbed prisoners is of
particular concern. International provisions call for the insane to be detained in
separate accommodations.428 The European Court for Human Rights has found that
subjecting a mentally ill person to isolation “is not compatible with the standard of
treatment required in respect of a mentally ill person.”429 Special provisions must
be made to accommodate those suffering from severe mental distress. Regardless
of where these prisoners are housed, mental health treatment should be provided by
well qualified practitioners, and undertaken confidentially.
        The mission further finds that California may be unacceptably contributing
to suicide risk within its death row. Suicide is an “ever-present reality” resulting

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              from the simple act of “confining someone in a closed environment from which
              they are unable to leave at their own will” and states must take appropriate actions
              to alleviate the risk of prisoners harming themselves.430 The Inter-American
              Commission has specifically noted several stressors influencing the decision to
              commit suicide which are particularly present in California, including physical
              or sexual assault, “reiterated and unjustified procedural delays,” and “particularly
              trying or degrading conditions of detention, such as intolerable overcrowding
              or solitary confinement with significantly long periods of confinement.”431 The
                                                 Inter-American Commission has found that the
Medical and Mental Health Visits maintenance of inhuman conditions, coupled
at San Quentin                                   with inadequate medical care and not reacting
                                                 properly to suicide threats constituted a “series
On California’s death row, correctional
                                                 of omissions that caused [the victim’s] health to
officers remain in the room during
                                                 deteriorate and ultimately caused his death.”432
medical visits and frequently do not keep
                                                 Although the mission has not evaluated the 22
communications between patients and
                                                 specific incidences of suicide in California’s
doctors confidential. In addition, San
                                                 death row, the testimony it received leads it
Quentin’s practice of requiring strip-
                                                 to conclude that the poor conditions, lack of
searches before a medical or mental health
                                                 health care, and lack of monitoring are similar
visit for prisoners held in the Adjustment
                                                 to those which have been found to contribute
Center may deter prisoners from accessing
                                                 to an inmate’s suicide risk. Although, the Inter-
medical services due to the humiliation
                                                 American Commission has found that in addition
involved. The Inter-American Commission
                                                 to the multitude of stressors already inherent
has urged that “[p]risoners must be
                                                 in detention “the incarceration of an individual
able to consult medical professionals
                                                 in isolation conditions that do not meet the
confidentially…”434
                                                 applicable international standards constitutes a
                                                 risk factor for suicide.” 433




  US Washington – June 29 2009, Abolitionist Action Committee protests in front of the US
  Supreme Court, @ CHIP SOMODEVILLA / GETTY IMAGES NORTH AMERICA / AFP




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VIII. Conclusion
        The death penalty, as implemented in California and Louisiana, violates not
only the right to life but also other fundamental human rights, including those of
non-discrimination, due process, and freedom from torture or cruel, inhuman, or
degrading treatment. The violations of these core human rights obligations overlap
and intersect, and are present at every stage in the capital process, from the charging
of a death eligible crime, to the actual commission of the execution.

        In assessing potential remedies to the problematic use of the death penalty
in these states, the mission is faced with a paradox. To ensure capital trials are
impartial and absent discrimination, not only must radical changes be implemented
at the outset of the trial process, but the post-conviction appeals process must be,
impartial, undertaken by fully-funded and well qualified counsel, and thorough. To
reach these goals, states would need to substantially increase the time and resources
available to the already lengthy, costly post-trial process — while continuing to
imprison the condemned on death row for significant periods of time. Therefore, in
order to address the problem of racial discrimination, states would have to maintain
the inherently cruel system of a lengthy and uncertain wait for death. 435
        The mission considers that it is impossible to honor both the right to a fair
trial and the right to be free from torture or cruel, inhuman or degrading treatment;
abandoning either, however, would be contrary to human rights obligations. The
duty to ensure due process in a death case is absolute, while the duty of states to not
torture is one of the core tenets of a modern society. Both obligations are protected
by law. The mission can conceive of no permissible balance that can be struck
between these foundational tenets of human rights, which the United States has
promised both its citizens and the international community to uphold.
       This paradox underscores once again that the only ethically and legally
tenable response to the death penalty is its complete abolition.
      The use of the death penalty constitutes an inherent violation of the most
fundamental of

all rights, the right to life. No legal or correctional reforms could bring legitimacy
to the necessarily inhumane and premeditated taking of a life by the state through
its imperfect system. As such, the mission unambiguously and fundamentally
opposes any use of the death penalty in the United States, including in California
and Louisiana. To continue to use the death penalty, particularly in light of the fair
trial and treatment violations, shocks the conscience and violates international law.
The mission calls for its immediate abolition.

        Nevertheless, we recognize that complete abolition of the death penalty
will not occur immediately, despite the multitude of efforts throughout the United
States, and internationally, to end it. In the interim, a moratorium on executions
must be imposed to protect condemned

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 prisoners’ right to life. In addition, states must alter trial procedures to ensure
 that more defendants are not sentenced to death in trials rife with discrimination.
 Further, reforms to prison conditions must be implemented to ensure that those
 already under a sentence of death are not suffering torture or other cruel, inhuman,
 or degrading treatment.




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IX. Recommendations
Until the complete abolition of the death penalty in the United States is realized,
we recommend the following interim steps must be taken to bring California
and Louisiana into compliance with the U.S.’s international treaty obligations,
including:


1.     Impose an immediate moratorium on executions and new death
        sentences
2.      xpand the domestic prohibition to include discriminatory impact
       E
       without a particularized showing of intent—in line with international
       norms
3.     End the use of solitary confinement and isolation for death row.
       Prisoners must have meaningful access to phone calls and regular contact
       visitation with their families and attorneys. Visitation, phone calls and
       mail must not be denied arbitrarily
4.     Ensure meaningful, expeditious judicial review of death penalty
       convictions
5.     Regulate prosecutorial discretion that makes minorities vulnerable.
       Prosecutorial discretion should not be unsupervised and unguided. Steps
       should be taken to reduce the total discretion exercised by prosecutor by:
             - Reducing rather than expanding the list of death-eligible aggravating
                factors and narrowing the definition of existing factors
             - Establishing advisory boards to assist prosecutors in capital charging
                decisions
             -
              Implementing or strengthening sanctions against prosecutors
              with high reversal rates, repeated due process violations, or racist
              statements;
6.     Provide properly funded and well trained counsel. States must properly
       fund trial and post-conviction counsel in timely fashion, and ensure full
       funding for experts and investigators. States must also follow ABA
       guidelines on the qualification of capital defense counsel
7.      nsure there are impartial juries that represent the full range of
       E
       public opinion
             - Allow for those with even strong doubt about the use of the death
                penalty to serve on juries
             - Implement reforms to more carefully monitor the use of peremptory
                challenges against jurors



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8.     Ensure humane conditions on death row
          - Ensure death row meets international conditions standards outlined by the
             Standard Minimum Rules
          - Reform the PRLA to provide access to justice and restitution for those
             who have undergone torture orCIDT at the hands of the state
          - Require procedural safeguards and due process for any punishment of a
             prisoner
          - Ensure the confidentiality of attorney/client communications
          - Maintain a comfortable temperature, ensure access to clean cold water
             and ice, provide air ventilation
          - Ensure prisoners have privacy and dignity by ending tours of death row
             in Louisiana


9.    Ensure high quality medical and mental health care
          - Ensure medical care is given by properly qualified staff
          - Ensure that medical and mental health communications remain confidential
             between inmates and doctors
          - Provide sanitary hospital conditions
          - Permit ready access to necessary mediations
          -Establish special medical regimes, housing and protections for those
             condemned prisoners who suffer from mental illness and severe mental
             illness, including access to therapy in a one-on-one setting
          - End practices, such as strip searches and the use of handcuffs during
             medical exams, that deter or prevent prisoners from utilizing medical and
             mental health services


10.   Allow access to social and educational outlets
          - Allow death row inmates to participate in rehabilitation, educational and
             work programming available to the general population
          - Allow death row inmates to create art
          - Provide access to communal spaces
          -
           Provide daily access to outdoor recreational space with appropriate
           recreational equipment
          - End practices, such as strip searches, that deter or prevent prisoners from
             utilizing recreational space


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X. A
    ppendix: Partial List
   of Interviewees
 1. California

 -   Pat Aties, member, Campaign to End the Death Penalty
 -   Joseph Baxter, Attorney for Jarvis Masters, Law Offices of Joseph Baxter
 -   Sarah Chester, Staff Attorney, California Appellate Project
 -   Kevin Cooper, death row prisoner since 1985
 -   Steve Fama, Attorney, Prison Law Office
 -   The Honorable William Fletcher, Judge, 9th Circuit Court of Appeals
 -   Norm Hile, attorney for Kevin Cooper, Senior Counsel, Orrick, Herrington,
     & Sutcliffe LLP
 -   Terry Kupers, M.D., Psychiatrist
 -   Michael Laurence, Executive Director, Habeas Corpus Resource Center
 -   Jarvis Masters, Death row prisoner since 1990
 -   Michael Millman, Executive Director, California Appellate Project
 -   Natasha Minsker, Associate Director, ACLU of Northern California
 -   Fred Renfroe, Staff Attorney, Habeas Corpus Resource Center
 -   Joseph Schlesinger, Chief Attorney, Capital Habeas Unit, Office of the
     Federal Defender, Eastern District of California
 -   Elizabeth Semel, Clinical Professor of Law, University of California
     Berkeley School of Law
 -   Kathrin Smith, Wife of death row prisoner Jarvis Masters
 -   Don Spector, Attorney, Prison Law Office
 -   Christine Thomas, wife of Correll Thomas and paralegal, Office of the
     Federal Defender for the Eastern District of California
 -   Correll Thomas, Death row prisoner since 1999
 -   Jeanne Woodford, Former Warden of San Quentin State Prison
 -   Elizabeth Zitrin, Attorney, Vice President of Coalition Against the Death
     Penalty




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    2. Louisiana

    -     Richard Bourke, Director, Louisiana Capital Assistance Center
    -     Gary Clements, Director, Capital Post Conviction Project of Louisiana
    -     Ben Cohen, Of-Counsel, The Capital Appeals Project
    -     Elizabeth Compa, Staff Attorney, The Capital Appeals Project
    -     Rosana Cruz, Associate Director of Voice of the Ex-Offender
    -     Sophie Cull, Louisiana Coalition for Alternatives to the Death Penalty
    -     Calvin Duncan, 2013 Soros Justice Fellow and Paralegal, Louisana Capital
          Assistance Center
    -     Norris Henderson, Founder and Executive Director of Voice of the Ex-
          Offender
    -     Denny LeBoeuf, ACLU Capital Punishment Project
    -     Mercedes Montagnes, Deputy Director, The Capital Appeals Project
    -     Monique Matthews Ruiz, Advocate and sister of exonerees Ryan Matthews
    -     William Sothern, Law Office of William M. Sothern
    -     John Thompson, Co-founder and Director, Resurrection After Exoneration
    -     Nick Trenticosta, Director, Center for Equal Justice
    -     Cecelia Trenticosta, Staff Attorney, The Capital Appeals Project




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Endnotes
1. The International Federation for Human Rights (“FIDH”) is a federation comprised of 178 human rights organizations
in more than 100 countries. Founded in 1922, FIDH aims at obtaining effective improvements in the prevention of
human rights violations, the protection of victims, and the sanction of their perpetrators. With activities ranging from
judicial enquiry, trial observation, research, advocacy and litigation, FIDH has developed strict and impartial procedures
which are often relied upon by independent human rights experts. FIDH is a member of the Steering Committee of the
World Coalition against the Death Penalty (“WCADP”). For more information, visit www.fidh.org.

2. The Center for Constitutional Rights (“CCR”) is dedicated to advancing and protecting the rights guaranteed
by the United States Constitution and the Universal Declaration of Human Rights. Founded in 1966 by attorneys
who represented civil rights movements in the South, CCR is a non-profit legal and educational organization
committed to the creative use of law as a positive force for social change. CCR is a member of the WCADP. For
more information, visit www.ccrjustice.org.

3. That is also the reason why the International Commission against the Death Penalty (“ICDP”) conducted a
mission to California in April 2012, before the referendum. See Country Mission to California, ICDP, http://
www.icomdp.org/2012/05/country-mission-to-california-23-27-april-2012. The Commission observed that,
“Repeal of the death penalty in California will provide important leadership not only to other U.S. states but also
internationally to countries moving towards abolition.”

4. The mission chose not to select target states based on number of executions; if so, it might have selected Texas,
where FIDH conducted a mission ten years ago. See FIDH Investigative Mission Report: United States of
America, The Death Penalty in the United States (2002), http://www.fidh.org/IMG/pdf/us316a-2.pdf.

5. This is evident from the myriad decisions on the death penalty that have been the focus of the Inter-American
Court on Human Rights and the European Court of Human Rights, as well as by the fact that the Third Committee of
the U.N. General Assembly has considered, and adopted, a resolution entitled “Moratorium on the use of the death
penalty,” which garnered 110 votes in support in November 2012. Currently, 150 countries have either abolished or
do not practice the death penalty. See Press Release, U.N. Secretary-General, Secretary-General Welcomes Third
Committee’s Death Penalty Moratorium Resolution, U.N. Press Release SG/SM/14661 (21 Nov. 2012).

6. Standard Minimum Rules for the Treatment of Prisoners, adopted by the First U.N. Congress on the Prevention
of Crime and the Treatment of Offenders (1955), approved by the U.N. Econ. & Soc. Council, E.S.C. Res. 663(C)
(XXIV) (31 July 1957) and E.S.C. Res. 2076 (LXII) (13 May 1977).

7. International Covenant on Civil and Political Rights, 16 Dec. 1966, 999 U.N.T.S. 17. See also The Advocates
for Human Rights and Reprieve: Shadow Report on the Death Penalty in the United States for Consideration
During the 109th Session of the U.N. Human Rights Committee (2013), http://www.theadvocatesforhumanrights.
org/united_states_-_human_rights_committee_-_death_penalty_-_october_2013.html.

8. See U.N. Hum. Rts. Com., CCPR Gen. Comm. No. 31, The nature of the general legal obligation imposed on
States Parties to the Covenant, 26 May 2004, U.N. Doc. CCPR/C/21/Rev.1/Add.13.

9. 408 U.S. 238 (1972).

10. 428 U.S. 153 (1976).

11. Coker v. Georgia, 433 U.S. 584 (1977); Kennedy v. Louisiana, 554 U.S. 407 (2008). There remain certain
non-homicide crimes against the state, such as treason and espionage, for which capital punishment has not been
ruled unconstitutional. The Supreme Court has yet to address the proportionality of capital punishment for these
crimes because no death sentence has been imposed for them in the post-Furman era.

12. Atkins v. Virginia, 536 U.S. 304 (2002).

13. Roper v. Simmons, 543 U.S. 551 (2005).

14. Ford v. Wainwright, 477 U.S. 399 (1986); Panetti v. Quarterman, 551 U.S. 930 (2007).

15. U.S. Dep’t of Justice, Bureau of Justice Stat’s [hereinafter U.S. Dep’t of Justice, B.J.S.], Table 3, Federal
Capital Offenses, By Statute, 2009, http://www.bjs.gov/content/pub/pdf/cp11st.pdf. Note that each state has its
own criminal code, and there also is a federal criminal code.

16. Three individuals have been executed for federal offenses since the reinstatement of the federal death penalty
in 1988. See Federal Death Row Prisoners List, Death Penalty Information Center [hereinafter DPIC] http://
www.deathpenaltyinfo.org/federal-death-row-prisoners#list.


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 17. The U.S. Military Death Penalty, DPIC, http://www.deathpenaltyinfo.org/us-military-death-penalty.

 18. The formula for weighing aggravating and mitigating circumstances varies by state.

 19. Every death penalty state utilizes jury sentencing except Alabama, Florida and Delaware. In those states,
 the jury recommends a sentence but the judge makes the ultimate decision. This system means that judges can
 override jury verdicts of life to impose the death penalty.

 20. In two states, Alabama and Tennessee, the direct appeal beings in the intermediate court of criminal appeals.

 21. Barry Latzer & David McCord, Death Penalty Cases: Leading U.S. Supreme Court Cases on Capital
 Punishment 33 (3d ed. 2011).

 22. States With and Without the Death Penalty, DPIC, http://www.deathpenaltyinfo.org/states-and-without-death-
 penalty.

 23. U.S. Dep’t of Justice, B.J.S., Table 1, Capital Offenses, By State, 2010, http://www.bjs.gov/content/pub/pdf/
 cp10st.pdf.

 24. Death Row Inmates by State and Size of Death Row by Year, DPIC, http://www.deathpenaltyinfo.org/death-
 row-inmates-state-and-size-death-row-year#state.

 25. This includes both death penalty and non-death penalty states; see Jurisdictions With No Recent Executions,
 DPIC, http://www.deathpenaltyinfo.org/jurisdictions-no-recent-executions.

 26. 2012 Year End Report, DPIC, 2, http://deathpenaltyinfo.org/documents/2012YearEnd.pdf.

 27. Facts About the Death Penalty (May 2013), DPIC, 3, http://www.deathpenaltyinfo.org/FactSheet.pdf.

 28. 2012 Year End Report, DPIC, supra note 26, at 1.

 29. Id.

 30. Executions By Year, DPIC, http://www.deathpenaltyinfo.org/executions-year.

 31. Capital Punishment, 2011 – Statistical Tables, U.S. Dep’t of Justice, B.J.S., http://www.bjs.gov/content/
 pub/pdf/cp11st.pdf.

 32. Number of Executions by State and Region Since 1976, DPIC, http://www.deathpenaltyinfo.org/number-
 executions-state-and-region-1976.

 33. Abolitionist and Retentionist Countries, Amnesty Int’l, http://www.amnesty.org/en/death-penalty/
 abolitionist-and-retentionist-countries.

 34. American Convention on Human Rights, 21 Nov. 1969, 1144 U.N.T.S. 143.

 35. Protocol No. 6 to the European Convention for the Protection of Human Rights and Fundamental Freedoms
 concerning the Abolition of the Death Penalty, 28 Apr. 1983, E.T.S. 114; Second Optional Protocol to the
 ICCPR, Aiming at the Abolition of the Death Penalty, G.A. Res. 44/128, U.N. Doc. A/RES/44/128 (15 Dec.
 1989); Protocol to the American Convention on Human Rights to Abolish the Death Penalty, 8 June 1990,
 O.A.S.T.S. 73, 29 I.L.M. 1447; Protocol 13 to the European Convention for the Protection of Human Rights and
 Fundamental Freedoms on the Abolition of the Death Penalty in All Circumstances, 3 May 2002, E.T.S. 187.

 36. G.A. Res. 63/168, U.N. Doc. A/RES/63/168 (8 Dec. 2008); 106 countries voted in favor of the resolution.

 37. G.A. Res. 65/206, U.N. Doc. A/RES/65/206 (21 Dec. 2010); 109 countries voted in favor of the
 resolution.

 38. G.A. Third Com. Res., U.N. Doc. A/C.3/67/L.44/Rev.1 (15 Nov. 2012); 110 countries voted in favor of the
 resolution.

 39. U.N. Hum. Rts. Com. CCPR Gen. Comm. No. 6: The right to life (art. 6), 30 Apr. 1982, U.N. Doc. HRI/
 GEN/1/Rev.1. See also Interim report of the Special Rapporteur on torture and other cruel, inhuman or
 degrading treatment or punishment, U.N. Doc. A/67/279 (9 Aug. 2012) (by Juan Méndez) [hereinafter Méndez
 2012 Interim Report], ¶ 26 (“Capital punishment is the ultimate exception to the inherent right to life.”).


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40. American Declaration of the Rights and Duties of Man, OEA/Ser.L./V.II.23, doc. 21, rev. 6 (2 May 1948).

41. American Convention, supra note 34..

42. International Convention on the Elimination of All Forms of Racial Discrimination, 21 Dec. 1965, 660
U.N.T.S. 195.

43. Convention against Torture and Other Cruel, Inhuman or Degrading Treatment or Punishment, 10 Dec.
1984, 1465 U.N.T.S. 85.

44. CERD, supra note 42, at art. 2(a).

45. Id. at art. 2(c)(c).

46. “[T]he principle of equality before the law, equal protection before the law and non-discrimination belongs
to jus cogens, because the whole legal structure of national and international public order rests on it and it is a
fundamental principle that permeates all laws. Nowadays, no legal act that is in conflict with this fundamental
principle is acceptable.” Juridical Condition and Rights of the Undocumented Migrants, Advisory Opinion
OC-18/03, Inter-Am. Ct. H. R. (ser. A) No. 18, ¶ 101 (2003).

47. Id. at ¶ 47.

48. CERD, supra note 42, at art. 1, para. 1.

49. ICCPR, supra note 43, at art. 2, para 1; see also id. at art. 26 (“All persons are equal before the law and are
entitled without any discrimination to the equal protection of the law.”).

50. American Declaration, supra note 40, at art. 2. The American Convention, which the U.S. has signed but
not ratified, includes the duty to ensure the free exercise of rights and equal protection under the law without
discrimination; American Convention, supra note 34, at arts. 1, 24.

51. See, inter alia, U.N. Hum. Rts. Com., CCPR Gen. Comm. No. 18, Non-discrimination (10 Nov., 1989),
U.N. Doc. HRI/GEN/1/Rev.1, ¶ 7; Juridical Condition and Rights of the Undocumented Migrants, supra note
46, at ¶ 101.

52. See U.N. Hum. Rts. Com., CCPR Gen. Comm. No. 18, supra note 51; Simunek et al. v. Czech Republic, U.N.
Hum. Rts. Com . Communic’n No. 516/1992 (19 July, 1995), U.N. Doc. CCPR/C/54/D/516/1992, ¶ 11.7 (“[A]
n act which is not politically motivated may still contravene article 26 if its effects are discriminatory”); Cecilia
Derksen v. Netherlands, U.N. Hum. Rts. Com. Communic’n No. 976/2001 (1 Apr., 2004), U.N. Doc. CCPR/
C/80/D/976/2001, ¶ 9.3 (finding that “article 26 prohibits both direct and indirect discrimination” in the case of
a law that was neutral on its face, yet failed to provide equal legal standing for children born out of wedlock).
The CERD Committee has found indirect discrimination to be a violation of the Convention where a proposed
housing measure was approved, but later cancelled due to racially charged public opposition. Finding that even
the denial of a proposed benefit was a discriminatory action, the Committee noted that, “[i]n assessing such
indirect discrimination, the Committee must take full account of the particular context and circumstances of the
petition, as by definition indirect discrimination can only be demonstrated circumstantially.” L.R. et al. v. Slovakia,
U.N. CERD Com., Communic’n No. 31/2003 (7 Mar. 2005), U.N. Doc. CERD/C/66/D/31/2003, ¶ 12. While
international law permits race-based differentiations in certain very limited circumstances, treaty bodies have
emphasized that any unjustifiable disparate impact resulting from state conduct is contrary to human rights and
violates a jus cogens norm. See U.N. CERD Com., Gen. Rec. No. 14, Definition of discrimination (Art. 1, par.1)
(22 Mar. 1993), U.N. Doc. A/48/18, ¶ 2 (“a differentiation of treatment will not constitute discrimination if the
criteria for such differentiation, judged against the objectives and purposes of the Convention, are legitimate”).
In analyzing a race-based differentiation, the Committee focuses on the effect, and will determine if the action
“has an effect contrary to the Convention” through evaluating any “unjustifiable disparate impact.” See also
Proposed Amendments to the Naturalization Provision of the Constitution of Costa Rica, Advisory Opinion
OC-4/84, Inter-Am. Ct. H.R. (ser. A) No. 4 ¶ 57 (19 Jan. 1984) (finding there is no discrimination if “the
classifications selected are based on substantial factual differences and there exists a reasonable relationship of
proportionality between these differences and the aims of the legal rule under review. These aims may not …
be arbitrary, capricious, despotic or in conflict with the essential oneness and dignity of humankind”).

53. U.N. CERD Com., Gen. Rec. No. 31, On the prevention of racial discrimination in the administration and
functioning of the criminal justice system, (3 Oct. 2005), U.N. Doc. A/60/18, in Rep. of the CERD Com., 66th
Sess., 21 Feb.–11 Mar. 2005, U.N. Doc. A/60/18, GAOR, 60th Sess., Supp. No. 18, at 99, 98-108, ¶ 1. See also,
id., Preamble, “. . . .Convinced that, even though the system of justice may be regarded as impartial and not


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 affected by racism, racial discrimination or xenophobia, when racial or ethnic discrimination does exist in the
 administration and functioning of the system of justice, it constitutes a particularly serious violation of the rule
 of law, the principle of equality before the law, the principle of fair trial and the right to an independent and
 impartial tribunal, through its direct effect on persons belonging to groups which it is the very role of justice
 to protect . . . .”

 54. See Juridical Condition and Rights of the Undocumented Migrants, supra note 46, at ¶¶ 83-96; The Yean
 and Bosico Children v. Dominican Republic, Judgment, Inter-Am. Ct. H.R. (ser. C) No. 130 (8 Sept. 2005);
 The Situation of People of African Descent in the Americas, Inter-Am. Comm’n H.R., OEA/Ser.L/V/II., Doc.
 62, 5 Dec., 2011; Mossville Environmental Action Now v. United States, Case 12.755, Inter-Am. Comm’n H.R.,
 Report No. 43/10, OEA/Ser.L./V/II.138, doc. 47, ¶ 42 (17 Mar. 2010) (“[T]he right to equal protection under
 international human rights law has been interpreted as prohibiting not only intentional discrimination, but also
 any distinction, exclusion, restriction or preference which has a discriminatory effect . . .”).

 55. Juridical Condition and Rights of the Undocumented Migrants, supra note46, at ¶ 47.

 56. Jeffrey Timothy Landrigan v. United States, Case 12.776, Inter-Am. Comm’n H.R., Report No. 81/11, ¶¶
 46-54 (21 Jul. 2011).

 57. See, inter alia, U.N. Hum. Rts. Com., CCPR Gen. Comm. No. 32, Article 14: Right to equality before courts
 and tribunals and to a fair trial (23 Aug. 2007), U.N. Doc. CCPR/C/GC/32.

 58. See id., ¶ 59 (“The imposition of a sentence of death upon conclusion of a trial, in which the provisions of
 article 14 of the Covenant [requiring equality before courts and tribunals] have not been respected, constitutes
 a violation of the right to life…”); ICCPR, supra note 7, at art. 6(2) (“This penalty can only be carried out
 pursuant to a final judgment rendered by a competent court” (emphasis added)); The Death Penalty in the Inter-
 American Human Rights System: From Restrictions to Abolition, Inter-Am. Comm’n H.R., OEA/Ser.L/V/II.
 Doc. 68, ¶ 11 (31 Dec. 2011) [hereinafter The Death Penalty in the Inter-American Human Rights System] (“[T]
 he kinds of deficiencies that have been identified by the Commission as rendering an execution arbitrary and
 contrary to Article I of the American Declaration include … the failure to provide strict due process guarantees,
 and the existence of demonstrably diverse practices that result in the inconsistent application of the penalty for
 the same crimes.”).

 59. The Death Penalty in the Inter-American Human Rights System, supra note 58, at ¶ 11.

 60. See, ICCPR, supra note 7, at art. 6(2) (the death penalty can only be carried out pursuant to a final judgment
 rendered by a competent court), art. 26 (right to equality before the law); see also American Declaration, supra
 note 40, art. 2 (right to equality before the law), art. 18 (right to a fair trial), art. 26 (right to due process of
 law).

 61. U.N. Hum. Rts. Com., Gen. Com. No. 32, supra note 57, at ¶ 25.

 62. Narrainen v. Norway, U.N. CERD Com., Communic’n No 3/191 (15 Mar. 1994), U.N. Doc. CERD/C/44/
 D/3/1991, ¶ 2.4-2.5.

 63. William Andrews v. United States, Case 11.139, Inter-Am. Comm’n H.R., Report No. 57/96, OEA/Ser.L/V/
 II.95, doc. 7 (1996) (finding violations of arts. 1, 2 and 26 where, in a jurisdiction whose citizenry held
 prejudicial beliefs, a juror presented the bailiff with a drawing of a hangman accompanied by the statement,
 “Hang the [racial epithet],” and the judge took no remedial action).

 64. Roberto Moreno Ramos v. United States, Case P4446/02, Inter-Am. Comm’n H.R., Report No. 61/03, OEA/
 Ser.L/V/II.118, doc. 70 ( 2003).

 65. Case of Zarb Adami v. Malta, 2006 Eur. Ct. H.R. 637, ¶¶ 75, 77-78 (finding discrimination based on
 statistics); Orlando Cordia Hall v. United States, Case 12.719, Inter-Am. Comm’n H.R., Report No. 77/09,
 OEA (2009). But see Hugh Jordan v. the United Kingdom, 2001 Eur. Ct. H.R. 327, ¶ 154 (finding statistics
 alone insufficient proof of discrimination); Celestine v. United States, Case 10.031, Inter-Am. Comm’n H.R.,
 Res. No. 23/89, OEA/Ser.L/V/II.77, doc. 7 (1989) (finding statistics from another jurisdiction alone were
 insufficient evidence of discriminatory purpose).

 66. See U.N. CERD Com., Gen. Rec. No. 14, supra note 52.

 67. 481 U.S. 279 (1987).



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68. Id. at 312.

69. Id. at 292.

70. Special Rapporteur on extrajudicial, summary or arbitrary executions, Question of the Violation of Human
Rights and Fundamental Freedoms in Any Part of the World, with Particular Reference to Colonial and Other
Dependent Countries and Territories, Addendum, Mission to the United States, U.N. Doc. E/CN.4/1998/68/
Add.3, ¶ 65 (22 Jan. 1998) (by Bacre Waly Ndiaye).

71. U.N. CERD Com., Consideration of Reports Submitted by States Parties under Article 9 of the Convention,
Concluding Observations of the CERD Committee: United States of America, U.N. Doc. CERD/C/USA/CO/6
¶ 10 (8 May 2008) [hereinafter CERD U.S. Concluding Observations 2008].

72. Id. at ¶ 20.

73. Id. at ¶ 10.

74. U.N. CERD Com., Concluding Observations of the Committee on the Elimination of Racial
Discrimination: United States of America, U.N. Doc. CERD/C/59/Misc.17/Rev.3, ¶ 17(13 Aug. 2001)
[hereinafter CERD U.S. Concluding Observations 2001], (“[T]here is a disturbing correlation between race,
both of the victim and the defendant, and the imposition of the death penalty, particularly in states like Alabama,
Florida, Georgia, Louisiana, Mississippi and Texas.”); see also CERD U.S. Concluding Observations 2008,
supra note 71, at ¶ 23.

75. CERD U.S. Concluding Observations 2008, supra note72, at ¶ 23.

76. U.N. Hum. Rts. Com., List of issues in relation to the fourth periodic report of the United States of America
(CCPR/C/USA/4 and Corr. 1), adopted by the Committee at its 107th Session (11-28 March 2013), U.N. Doc.
CCPR/C/USA/Q/4, ¶¶ 8(a), 8(e) (29 Apr. 2013).

77. For example, the International Criminal Tribunal for the former Yugoslavia (“ICTY”) has observed that
the “essence of the whole corpus of international humanitarian law as well as human rights law lies in the
protection of the human dignity of every person, whatever his or her gender. The general principle of respect
for human dignity is […] the very raison d’etre of international humanitarian law and human rights law; indeed
in modern times it has become of such paramount importance as to permeate the whole body of international
law.” The Prosecutor v. Furundžija, Case No. IT-95-17/1-T, Judgment, ¶ 183 (10 Dec. 1998).

78. Universal Declaration of Human Rights, G.A. Res. 217 (III) A, UN Doc A/RES/217 (III), art. 5 (10 Dec.,
1948) [hereinafter UDHR].

79. CAT, supra note 43, at arts. 2, 16.

80. ICCPR, supra note 7, at arts. 7, 10.

81. European Convention for the Protection of Human Rights and Fundamental Freedoms, as amended by
Protocols 11 and 14, 4 Nov. 1950, E.T.S. 5, art. 3 [hereinafter European Convention on Human Rights];
American Declaration, supra note 40, art. 25, 26; American Convention, supra note 34, art. 5; African Charter
on Human and Peoples’ Rights, 27 June 1981, 21 I.L.M. 58, art. 5.

82. CAT, supra note 43, at art.1. Notably, the Inter-American Convention to Prevent and Punish Torture applies
a broader definition, which includes “physical or mental pain or suffering inflicted…for any other purpose.”
Inter-American Convention to Prevent and Punish Torture, 9 Dec. 1985, O.A.S.T.S. 67, art. 2. The United
States is not a party to this convention.

83. Interim Report of the Special Rapporteur on torture and other cruel, inhuman or degrading
treatment or punishment, U.N. Doc. A/HRC/13/39, ¶ 46 (30 Dec. 2009) (by Manfred Nowak)
(“Definitions of torture that leave out its psychological dimension encourage the use of mental ill-
treatment and provide a loophole resulting in impunity.”).


84. U.N. Hum. Rts. Com., Gen. Comm. No. 20: Replaces general comment concerning prohibition of torture
and cruel treatment or punishment (Art. 7), ¶ 4 (10 Mar. 1992) (“[T]he distinctions depend on the nature,
purpose and severity of the treatment applied.”); Prosecutor v. Brdjanin, Case No. IT-99-36-T, Judgment, ¶¶


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 484-85 (1 Sept. 2004). See also Soering v. United Kingdom, 161 Eur. Ct. H.R. ¶ 104 (ser. A) (1989); Case of
 Iorgov v. Bulgaria 2004 Eur. Ct. H.R. 113, ¶ 119 (“[W]hen assessing conditions of detention, account has to be
 taken of the cumulative effects of those conditions, as well as the specific allegations made by the applicant.”
 (citing Dougoz v. Greece, 2001 Eur. Ct. H.R. 213, ¶ 46, and Kalashnikov v. Russia, 2002 Eur. Ct. H.R. 416, ¶
 95).

 85. See, e.g., .R. 186 (Eur. Comm’n on H.R.) (“the Greek Case”).

 86. Inter-American Convention to Prevent and Punish Torture, supra note 83, at art. 2. See also U.N. Hum. Rts.
 Com., CCPR Gen. Comm. No 32, supra note 57 .

 87. Prosecutor v. Brdjanin, Case No. IT-99-36-T, ¶ 485.

 88. CAT, supra note 43, at art. 1; see also Inter-American Convention to Prevent and Punish Torture, supra
 note 83, art. 2 (“[I]nherent in or solely the consequence of lawful measures, provided that they do not include
 the performance of the acts or use of the methods referred to in this article.”). The ICCPR does not contain a
 similar provision.

 89. Implementation of the Convention Against Torture, 8 C.F.R. § 208.18(a)(3).

 90. Méndez 2012 Interim Report, supra n. 39, at ¶ 28. Taking corporal punishment as an example of
 interpretations of “lawful sanctions” that change over time, the former Special Rapporteur on torture traced
 the arc of corporal punishment from an act that was “widely accepted in European societies” to one that was
 widely recognized as a form of cruel, inhuman or degrading treatment. See Report of the Special Rapporteur
 on Torture and Other Cruel, Inhuman or Degrading Treatment or Punishment, U.N. Doc. A/HRC/10/44, ¶
 35 (14 Jan. 2009) (by Manfred Nowak). The current Special Rapportuer, in further developing this analysis,
 explains that because corporal punishment has been found to at least constitute CIDT, “it is not immune from
 being categorized as torture. Likewise, if the death penalty can be characterized as unlawful in some manner,
 including as a form of CIDT, it is not immune from also being found to be a form of torture.”. Méndez 2012
 Interim Report, supra note 39, at ¶ 28.

 91. Reid v. Jamaica, U.N. Hum. Rts. Com. Communic’n No. 250/1987 (20 July 1990), U.N. Doc. CCPR/C/39/
 D/250/1987, ¶ 11.5 (“the provision that a sentence of death may be imposed only in accordance with the law and
 not contrary to the provisions of the Covenant implies that “the procedural guarantees therein prescribed must
 be observed, including the right to a fair hearing by an independent tribunal, the presumption of innocence, the
 minimum guarantees for the defence, and the right to review by a higher tribunal”” Absent these guarantees it
 is an arbitrary deprivation of life.)

 92. Special Rapporteur on torture and other cruel, inhuman or degrading treatment or punishment, Question
 of the Human Rights of all Persons Subjected to Any Form of Detention or Imprisonment, U.N. Doc. E/
 CN.4/1988/17, ¶¶ 42, 44 (22 Jan. 1988) (by Pieter Kooijmans).

 93. Body of Principles for the Protection of All Persons under Any Form of Detention or Imprisonment, G.A.
 Res. 43/173, U.N. Doc. A/RES/43/173 (9 Dec. 1988), Note to Principle 6.

 94. Prosecutor v. Delalić (Zejnil), Case No. IT-96-21-T, Judgment, ¶ 543 (16 Nov. 1998); for an extensive
 review of the development of the understanding of inhuman treatment, see also ¶ 551, explaining that cruel
 treatment is equivalent to inhumane treatment.

 95. Denmark, Norway, Sweden and The Netherlands v. Greece, App. No. 3321-3/67, 1969 12 Y.B. Eur. Conv.
 on H.R. 186 (Eur. Comm’n on H.R.) (“the Greek Case”).

 96. Ireland v. United Kingdom, 35 Eur. Ct. H.R. (ser. A) ¶ 167 (1976).

 97. Prosecutor v. Delalić (Zejnil), Case No IT-96-21-T, ¶¶ 516-543.

 98. See, inter alia, Case of Neira Alegria et al. v. Peru, Judgment, Inter-Am. Ct. H.R. (ser. C) No. 20, ¶ 60 (19
 Jan. 1995) (“[E]very person deprived of her or his liberty has the right to live in detention conditions compatible
 with her or his personal dignity . . . Consequently, since the State is the institution responsible for detention
 establishments, it is the guarantor of these rights of the prisoners.”); Case of The “Street Children” (Villagrán-
 Morales et al.) v. Guatemala, Judgment, Inter-Am. Ct. H.R. (ser. C) No. 63, ¶ 165 (19 Nov. 1999); Prosecutor
 v. Delalić (Zejnil), Case No. IT-96-21-T, ¶ 543; Case of Labita v. Italy, 2000 Eur. Ct. H.R. 161, ¶ 120.).

 99. ICCPR, supra note7, at art. 10, paras 1, 3. See also American Declaration, supra note 40, art. 25 (“Every


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individual who has been deprived of his liberty . . . has the right to humane treatment during the time he is in
custody”) and at art. 26 (“Every person accused of an offense has the right . . . not to receive cruel, infamous
or unusual punishment”); American Convention on Human Rights, supra note 34, at art. 5 (“No one shall be
subjected to torture or to cruel, inhuman, or degrading punishment or treatment.”).

100. Basic Principles for the Treatment of Prisoners, G.A. Res. 45/111, U.N. Doc. A/RES/45/111, ¶ 5 (14
Dec. 1990); see also Body of Principles for the Protection of All Persons under Any Form of Detention or
Imprisonment, supra note 93.

101. Standard Minimum Rules for the Treatment of Prisoners, supra note 6. See, e.g., Womah Mukong v.
Cameroon, U.N. Hum. Rts. Com. Communic’n No. 458/1991 (10 Aug. 1994), U.N. Doc. CCPR/C/51/
D/458/1991, ¶ 9.3. The Special Rapporteur on Torture has recently issued a detailed report examining the
Standard Minimum Rules from the perspective of torture and CIDT, and recommends areas where the Rules
should be updated in light of developments in international law, while urging States to “renew their commitment
to adequately addressing the needs of persons deprived of liberty, with full respect for their inherent dignity
and their fundamental rights and guarantees, Interim report of the Special Rapporteur on torture and other
cruel, inhuman or degrading treatment or punishment, U.N. Doc. A/68/295, Summary (9 Aug. 2013) (by Juan
Méndez).

102. U.N. Econ. & Soc. Council, E.S.C. Res. 1996/15, ¶ 7 (23 Jul. 1996).

103. Safeguards Guaranteeing Protection of the Rights of Those Facing the Death Penalty, U.N. Econ. & Soc.
Council, E.S.C. Res. 1984/50, U.N. Doc. E/RES/1984/84 (25 May 1984).

104. The Inter-Am. Comm’n H.R. and Inter-Am. Ct. H.R. have applied the Standard Minimum Rules for the
Treatment of Prisoners to determine whether the treatment of prisoners complies with international standards
and obligations; see, inter alia, Case of Raxcacó-Reyes v. Guatemala, Judgment, Inter-Am. Ct. H.R. (ser. C) No.
133, ¶ 99 (15 Sept. 2005); Dexter Lendore v. Trinidad and Tobago, Case 12.269, Merits, Inter-Am. Comm’n
H.R., Report No. 28/09, OEA/Ser.L/V/II.124, doc. 7, ¶¶ 30-31 (2009); Chad Roger Goodman v. Bahamas,
Case 12.265, Merits, Inter-Am. Comm’n H.R., Report No. 78/07, OEA/Ser.L/V/II.130, doc. 22 rev. 1, ¶¶ 86-87
(2007).

105. Principles and Best Practices on the Protection of Persons Deprived of Liberty in the Americas, Inter-Am.
Comm’n H.R., Res. 01/08, 131st Sess., 3-14 Mar. 2008 (13 Mar. 2008).

106. Report on the Human Rights of Persons Deprived of Liberty in the Americas, Inter-Am. Comm’n H.R.,
OEA/Ser.L/V/II Doc. 64 (31 Dec. 2011) [hereinafter Report on the Human Rights of Persons Deprived of
Liberty in the Americas], ¶¶ 513-515.

107. See, e.g. Rolando v. The Philippines, U.N. Hum. Rts. Com. Communic’n No. 1110/2002 (3 Nov. 2004),
U.N. Doc. CCPR/C/82/D/1110/2002, ¶ 5.4 (“[R]eiterat[ing] [our] prior jurisprudence that the issue of a warrant
for execution necessarily causes intense anguish to the individual concerned and is of the view that the State
party should attempt to minimize this anguish as far as possible”); Wilson v. The Philippines, U.N. Hum. Rts.
Com. Communic’n No. 868/1999 (30 Oct. 2003), U.N. Doc. CCPR/C/79/D/868/1999, ¶ 7.4 (“In view of these
aggravating factors constituting further compelling circumstances beyond the mere length of time spent by the
author in imprisonment under a sentence of death, (13) the Committee concludes that the author’s
suffering under a sentence of death amounted to an additional violation of article 7”); Francis v.
Jamaica, U.N. Hum. Rts. Com. Communic’n No. 606/1994 (3 Aug. 1995), U.N. Doc. CCPR/C/54/
D/606/1994, ¶ 9.2 (“Whereas the psychological tension created by prolonged detention on death row
may affect persons in different degrees, the evidence before the Committee in this case, including
the author’s confused and incoherent correspondence with the Committee, indicates that his mental
health seriously deteriorated during incarceration on death row”).

108. For more information, see CCR, The United States Tortures Before it Kills: An Examination of the
Death Row Experience from a Human Rights Perspective(2011), http://ccrjustice.org/files/deathrow_torture_
postition_paper.pdf.


109. See Prosecutor v. Natelić and Martinović, Judgment, Case No. IT-98-34-T, ¶ 367-68 (31 Mar. 2003).

110. U.N. Special Rapporteur on Torture, Report pursuant to Hum. Rts. Comm’n Res. 1985/33, U.N. Doc. E/
CN.4/1986/15, ¶ 119 (19 Feb. 1986) (by Pieter Kooijmans)(articulating a non-exhaustive list of actions found


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 to constitute torture). See also Report of the Comm. Against Torture, 25th & 26th Sess., 13-24 Nov. 2000, 30-18
 May 2001, U.N. Doc. A/56/44, GAOR, 56th Sess., Supp. No. 44, ¶ 186 (2001) (concerning the inquiry on Peru,
 finding severe isolation to cause “persistent and unjustified suffering which amounts to torture”).

 111. See, e.g. Soering v. United Kingdom, 161 Eur. Ct. H.R. (ser. A) (1989) (finding cruel, inhuman or degrading
 treatment where a young prisoner would experience the death row phenomenon in a Virginia prison); Hilaire,
 Constantine, Benjamin et al. v. Trinidad and Tobago, Judgment, Inter-Am. Ct. H.R. (ser. C) No. 94, ¶¶ 168-169
 (21 June 2002) (finding cruel, inhuman or degrading treatment or punishment where the victims were subjected to
 inhuman treatment for “extensive periods of time,” including a suffering caused by delays in the appeals process and
 the agony of anticipating execution); Denton Aitken v. Jamaica, Case 12.275, Inter-Am. Comm’n H.R., Report No.
 58/02, OEA/Ser./L/V/II.111, doc. 20 rev. ¶ 133 (2002) (finding a violation of the American Convention on Human
 Rights, art. 5, “when considered in light of the lengthy period of nearly four years for which he has been detained
 on death row”); Paul Lallion v. Grenada, Case 11.765, Inter-Am. Comm’n H.R., Report No. 55/02, OEA/Ser.L/V/
 II.117, doc. 5 rev. 1 ¶¶ 86-90 (2002) (finding a violation of the American Convention on Human Rights, art. 5, where
 the conditions to which the victim was “subjected fail to respect his physical, mental and moral integrity”).

 112. Pratt & Morgan v. Jamaica, 1993] 4 All E.R. 769 (P.C.). See also Pratt & Morgan v. Jamaica, U.N. Hum.
 Rts. Com. Communic’n No. 210/1986 and 225/1987 (6 Apr. 1988), U.N. Doc. Supp. No. 40 A/44/40 at 222 ¶¶
 13.6-13.7 (rejecting Article 7 claim for prolonged judicial proceedings, but finding an Article 7 violation as a
 result of the State not informing prisoners of a stay of execution).

 113. Méndez 2012 Interim Report, supra note 39, ¶ 75.

 114. Id. at 75.

 115. Id. at 76.

 116. U.S. Const. amend. VIII. The Federal Constitution also applies to the states under U.S. Const. amend.
 XIV.

 117. Trop v. Dulles, 356 U.S. 86, 100-101 (1958).

 118. Roper v. Simmons, 543 U.S. 551(2005).

 119. Atkins v. Virginia, 536 U.S. 304 (2002).

 120. The understanding provides: “mental pain or suffering refers to prolonged mental harm caused by or
 resulting from: (1) the intentional infliction or threatened infliction of severe physical pain or suffering; (2) the
 administration or application, or threatened administration or application, of mind altering substances or other
 procedures calculated to disrupt profoundly the senses or the personality; (3) the threat of imminent death; or
 (4) the threat that another person will imminently be subjected to death, severe physical pain or suffering, or the
 administration or application of mind altering substances or other procedures calculated to disrupt profoundly
 the senses or personality.” U.S. reservations, declarations, and understandings, CAT, Cong. Rec. S17486-01
 (daily ed., 27 Oct. 1990).

 121. 18 U.S.C. § 2340.

 122. U.N. CAT Comm., Consideration of Reports Submitted by States Parties Under Article 19 of the
 Convention, Conclusions and Recommendations of the Committee against Torture: United States of America,
 U.N. Doc. CAT/C/USA/CO/2, ¶ 13 (25 Jul. 2006) [hereinafter U.N. CAT Com., U.S. Concluding Observations
 2006].

 123. See Jennifer Winslow, The Prison Litigation Reform Act’s Physical Injury Requirement Bars Meritorious
 Lawsuits: Was It Meant to? 49 UCLA L. Rev. 1655, 1660 (2002), citing 42 U.S.C. § 1997e(a); 28 U.S.C. §
 1915(b)(1); Prison Litigation Reform Act of 1995 - Section Summary, 141 Cong. Rec. S14,417 (1995).

 124. PLRA 42 U.S.C. § 1997e(e).

 125. U.S. State Dep’t, Periodic Report of the United States of America to the Committee Against Torture, ¶
 151, (12 Aug. 2013), http://www.state.gov/documents/organization/213267.pdf.

 126. U.N. CAT Com., U.S. Concluding Observations 2006, supra note 122, at ¶ 29.

 127. U.N. CAT Com., List of issues prior to the submission of the fifth periodic report of United States of


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America, U.N. Doc. CAT/C/USA/Q/5, ¶ 28 (10 Jan. 2010).

128. Div. of Adult Ops., Cal. Dep’t of Corr. and Rehab., Condemned Inmate Summary List, (1 Oct. 2013),
http://www.cdcr.ca.gov/Capital_Punishment/docs/CondemnedInmateSummary.pdf.

129. Gregg v. Georgia, 428 U.S. 153 (1976).

130. California’s state constitution allows California voters to pass state laws by popular initiative. When a
petition for the proposed measure receives a sufficient number of signatures, the proposed law is placed on the
ballot and submitted for a direct vote by the people. Initiatives pass by simple majority.

131. Cal. Penal Code § 187-90.2.

132. Cal. Penal Code § 189.

133. Judicial Council of Cal., Crim. Jury Instructions, No. 766 (2013).

134. David Love, Prop 34 Fails But Signals the Imminent Demise of California’s Death Penalty, The Guardian,
9 Nov., 2010, http://www.theguardian.com/commentisfree/2012/nov/09/proposition34-fails-california-death-
penalty.

135. Interview with Natasha Minsker, Associate Director, ACLU of Northern California, in San Francisco, Cal.
(8 May 2013) (notes on file with author).

136. California Commission on the Fair Administration of Justice, Final Report 10 (Chris Boscia & Gerald
Uelman 2008), http://www.ccfaj.org/documents/CCFAJFinalReport.pdf [hereinafter CCFAJ Report].

137. See, e.g., Interview with Pat Aties, member, Campaign to End the Death Penalty, in San Francisco, Cal.
(5 May 2013).

138. Interview with Kevin Cooper, death row prisoner, in San Quentin, Cal. (6 May 2013) (notes on file with
author); Interview with Christine Thomas, wife of death row prisoner, in San Quentin, Cal. (5 May 2013) (notes
on file with author); Interview with Correll Thomas, death row prisoner, in San Quentin, Cal. (5 May 2013) (notes
on file with author). See also Bob Egelko, Death Row Inmates Oppose Prop. 34, San Francisco Chronicle, 24
Sept. 2013, http://www.sfgate.com/news/article/Death-Row-inmates-oppose-Prop-XX-XXXXXXX.php.

139. Interview with Christine Thomas (5 May 2013).

140. Interview with Kevin Cooper (6 May 2013) (commenting that “a lot of prisoners believed that passing
the bill would send them to Pelican Bay,” the prison facility known for notoriously harsh solitary confinement
conditions).

141. Morales v. Tilton, 465 F. Supp. 2d 972, 974 (N.D. Cal. 2006).

142. Id. at 979-980.

143. Order Affirm. J., Sims v. Dep’t of Corrections, 216 Cal. App. 4th 1059 (30 May 2013); Maura Dolan,
Ruling, Red Tape are a Setback for California Executions, L.A; Times, 31 May , 2013 http://articles.latimes.
com/2013/may/31/local/la-me-lethal-injection-20130601.

144. Howard Mintz, California Abandons Defense of Three-Drug Executions, San Jose Mercury News, 11
July, 2013, http://www.mercurynews.com/ci_23635792/california-death-penalty-state-abandons-defense-
three-drug.

145. CCFAJ,Report, supra note 136, at 18.

146. Interview with Sarah Chester Staff Attorney, California Appellate Project, in San Francisco, Cal. (9 May
2013). According to Chester, correctional officers rather than certified interpreters are usually asked to translate
for the prisoners. When interpreters must be used because guards are not available, they frequently interpret for
the prisoner over the phone and rarely come to the prison to translate in person. Interpreters are rarely ever used
when the prisoner goes before a committee hearing.

147. Id.

148. Div. of Adult Ops., Cal. Dep’t of Corr. and Rehab., Condemned Inmate Summary List, (1 Oct. 2013),


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 http://www.cdcr.ca.gov/Capital_Punishment/docs/CondemnedInmateSummary.pdf. See also Interview with
 Sarah Chester (9 May 2013); Interview with Jeanne Woodford, former Warden of San Quentin State Prison, in
 San Francisco, Cal. (9 May 2013) (notes on file with author).

 149. Brown v. Plata, 131 S. Ct. 1910, 1947 (2011).

 150. See, e.g., Three-Judge Ct. Order Requiring List of Proposed Population Reduction Measures, Coleman v.
 Brown, No. 90-00520, dkt no. 5452 (E.D. Ca. 11 April 2013).

 151. Cal. Dep’t of Corr. and Rehab., 18 Sept. 2013 Population Report, http://www.cdcr.ca.gov/Reports_
 Research/Offender_Information_Services_Branch/WeeklyWed/TPOP1A/TPOP1Ad130918.pdf.

 152. Expert Decl. of Jeanne Woodford in Supp. Of Pl.’s Opp. To Def’ts’ Mot. to Terminate, ¶ 37, Coleman v.
 Brown, No. Civ S 90-0520, dkt no. 4380 (E.D. Ca. 14 Mar. 2013) [hereinafter Woodford Declaration].

 153. Wyatt Buchanan, “Gov. Brown Cancels Plans to Build New Death Row,” San Francisco Chronicle, 20
 April 2011.

 154. Steven F. Shatz & Nina Rivkind, The California Death Penalty Scheme: Requiem for Furman?, 72 N.Y.U.
 L. Rev. 1283, 1287 (1997); see also Steven F. Shatz, Summary of Expert Testimony Before the Cal.Comm’n on
 the Fair Admin. of Justice, http://www.ccfaj.org/documents/reports/dp/expert/Shatz%20Testimony.pdf.

 155. The twelve felonies are: robbery; kidnapping; rape; sodomy; the performance of a lewd or lascivious act
 on a child under the age of 14; oral copulation; first or second degree burglary; arson; train wrecking; mayhem;
 rape by instrument; and carjacking. Cal. Pen. Code § 190.2(a)(17).

 156. Shatz & Rivkind, supra note 154, at 1321. The authors gave the following example of what qualifies as
 a death-eligible crime: “In one case, the defendant yanked the victim’s purse off her arm in a store parking lot
 and fled. When the victim gave chase, she suffered a heart attack and died shortly thereafter. The defendant
 was charged with murder. Because the defendant had used force on the victim by yanking the purse, the purse-
 snatch was a robbery. Because the death occurred during flight from the robbery, the defendant was guilty of
 felony murder and was death-eligible.” Id. at 1321-22.

 157. Cal. Penal Code § 190.2(a)(15); Shatz & Rivkind, supra note 154, at 1322-23; see also Garth A. Osterman
 & Colleen Wilcox Heidenreich, Lying in Wait: A General Circumstance, 30 U.S.F.L. Rev. 1249, 1279 (1996).

 158. Shatz & Rivkind, supra note __, at 1331; Shatz Testimony Before the Cal. Comm’n on the Fair Admin. of
 Justice, supra note 154, at 1; see also CCFAJ Report, supra note 136, at 16-18. ACLU of North. Cal., Death
 by Geography: A County to County Analysis of the Road to Execution in Cal. 3-5 (2008).


 159. See Amended Decl. of David C. Baldus, Ashmus v. Wong, No. 93-594, dkt no. 473 (N.D. Cal. 19 Sept. 2010).

 160. Shatz & Rivkind, supra note 154, at 1322; Steven F. Shatz, The Eighth Amendment, the Death Penalty, and
 Ordinary Robbery-Burglary Murderers: A California Study, 59 U. Fl. L. Rev. 719, 745 (2007).

 161. Interview with Michael Laurence, Executive Director, Habeas Corpus Resource Center, in San Francisco,
 Cal. (10 May 2013) (notes on file with author); see also Phone interview with Joseph Schlesinger, Chief Attorney,
 Capital Habeas Unit, Office of the Federal Defender for the Eastern District of California (17 Apr. 2013) (notes
 on file with author); Phone Interview with Elisabeth Semel, Clinical Professor of Law, University of California
 Berkeley School of Law (19 Apr. 2013) (notes on file with author); Steven Shatz & Terry Dalton, Challenging
 the Death Penalty with Statistics: Furman, McCleskey, and a Single County Case Study, 34 Cardozo L. Rev.
 1227, 1258 (2013); Shatz & Rivkind, supra note 154, at 1332 (“[f]ewer than one out of eight death-eligible
 convicted first degree murderers is selected for death at the complete discretion of prosecutors and juries.”).

 162. Shatz, supra note 160, at 769.

 163. Interview with Joseph Schlesinger in San Francisco, Cal. (10 May 2013) (notes on file with author).

 164. See, e.g., Catherine Lee, Hispanics and the Death Penalty: Discriminatory Charging Practices in San
 Joaquin County, California, 35 J. of Crim. Just. 17, 21 (2007).

 165. Glenn L. Pierce & Michael L. Radelet, The Impact of Legally Inappropriate Factors on Death Sentencing
 for California Homicides, 1990-1999, 46 Santa Clara L. Rev. 1, 18 (2005).



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166. Id. at 36.

167. Shatz & Dalton, supra note 161, at 1262, 1266.

168. ACLU of Northern California, Death by Geography: A County to County Analysis of the Road to Execution
in California 3-5 (2008). The ten counties are Los Angeles, Riverside, San Bernardino, Alameda, Orange,
Contra Costa, San Diego, Sacramento, Tulare, and Ventura.

169. Pierce & Radelet, supra note 165, at 25.

170. Id. at 32.

171. Compare United States Census Bureau, State and County QuickFacts: California, http://quickfacts.census.
gov/qfd/states/06000.html with Cal. Dep’t of Corr. & Rehab., Condemned Inmate Summary List (4 Sept. 2013),
available at http://www.cdcr.ca.gov/Capital_Punishment/docs/CondemnedInmateSummary.pdf.

172 Cal. Dep’t of Corr. & Rehab., Inmates Executed, 1978-Present , http://www.cdcr.ca.gov/Capital_
Punishment/Inmates_Executed.html.

173. Judge Arthur Alarcon, Remedies for California’s Death Row Deadlock, 80 S. Cal. L. Rev. 697, 726
(2007).

174. CCFAJ Report, supra note 136, at 26-27.

175. Id. at 47.

176. Id. at 23-24.

177. Interview with Sarah Chester (9 May 2013).

178. Id. at 24; see also Alarcon, supra note 173, at 722-23.

179. Statistics provided by Michael Laurence indicate that for first petitions filed after July 17, 2002, the
California Supreme Court’s disposition has taken an average of 3.7 years, and with many of those petitions
still pending.

180. Interview with Sarah Chester (9 May 2013).

181. Phone Interview with Joseph Schlesinger(17 April 2013).

182. James S. Liebman & Jeffrey Fagan, A Broken System: Error Rates in Capital Cases, App. A-25, 1973-1995
(2000), available at http://www2.law.columbia.edu/instructionalservices/liebman/.

183. Sara Colon, Capital Crime: How California’s Administration of the Death Penalty Violates the Eighth
Amendment, 97 Cal. L. Rev. 1377, 1401 (2009).

184. Interview with Joseph Schlesinger (10 May 2013). Schlesinger also stated that he knew of at least two
innocence cases where the client died before his case could be heard. Id.

185. See generally Thompson v. Enomoto, 815 F.2d 1323 (9th Cir. 1987)

186. See Lancaster v. Cate, 2009 WL 837643 (N.D. Cal. 26 Mar. 2009).

187. Testimony by Jeanne Woodford for the House Jud. Subcomm. on Crime, Terrorism, and Homeland
Security, Hearing on H.R. 4109, the “Prison Abuse Remedies Act of 2007,” April 22, 2008.

188. San Quentin’s operating procedures for death row, also known as the “Condemned Manual,” defines Grade
A as prisoners “without a high violence or escape potential who have demonstrated a good disciplinary-free
adjustment and are able to get along safely and peacefully with other inmates and staff.” Grade B prisoners are
defined as inmates “with a high escape or violence potential or who are serious disciplinary or management cases.”
San Quentin Operational Procedure, Condemned Manual, No. 608 (“OP 608”), § 301 (revised March 2013).

189. Interview with Jarvis Masters, death row prisoner, in San Quentin, Cal. (8 May 2013) (notes on file with author).

190. Interview with Correll Thomas(5 May 2013); Woodford Declaration, supra note 152, ¶ 29.


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 191. Woodford Declaration, supra note ___, ¶ 30.

 192. Interview with Sarah Chester (May 9, 2013); Interview with Jeanne Woodford (May 9, 2013); Woodford
 Declaration, supra note 152, ¶¶ 31, 41.

 193. See Woodford Declaration, supra note 152, ¶ 32.

 194. Interview with Sarah Chester (9 May 2013); see also OP 608, § 471(g).

 195. Interview with Correll Thomas (5 May 2013).

 196. Interview with Jarvis Masters (8 May 2013). The Condemned Manual does not specify telephone privileges
 for “Grade B” prisoners at all, and states explicitly that “Grade B inmates are not routinely afforded access to
 the telephone.” OP 608, § 475-78.

 197. Id. § 477.

 198. Interview with Correll Thomas (5 May 2013).

 199. OP 608, § 480(b).

 200. Id. § 446.

 201. See Interview with Joseph Baxter, Attorney, in San Quentin, Cal. (8 May 2013) (notes on file with author);
 Interview with Steve Fama and Don Specter, Attorneys, Prison Law Office, in Berkeley, Cal. (7 May 2013)
 (notes on file with author).

 202. Interview with Correll Thomas (5 May 2013).

 203. Id.; Interview with Kevin Cooper (6 May 2013).

 204. Interview with Correll Thomas (5 May 2013).

 205. Interview with Jarvis Masters (8 May 2013).

 206. Interview with Kevin Cooper (6 May 2013).

 207. Id.

 208. Interview with Jeanne Woodford (9 May 2013).

 209. OP 608, § 467(e).

 210. Interview with Jarvis Masters (8 May 2013); see also Woodford Declaration, supra note 152, ¶ 41.

 211. OP 608, § 829. The guidelines specify, for example, that a term of up to 18 months may be assessed for
 “leading a . . . strike” or conspiring to lead a strike; up to 12 months for fighting; and up to 9 months for refusing
 to accept a housing assignment.

 212. Interview with Steve Fama and Don Spector (7 May 2013).

 213. OP 608, § 805(D); 15 Calif. Code Reg. § 3315(a)(3); see also Interview with Correll Thomas (5 May 2013).

 214. OP 608, § 301. Under the Condemned Manual, a gang may be any formal or informal association of three
 or more people whose members have an identifying symbol and who have engaged or threatened or planned to
 engage in an “act of misconduct” on behalf of the group. Id. § 802. Although “gang association” is defined in
 regulations governing all California prisons, see 15 Calif. Code Reg. § 3375.3, “gang affiliation” is not.

 215. OP 608, § 826(B).

 216. Inmates may receive a Grade B classification as long as prison officials find that the inmate “endangers the lives of
 staff, other inmates and/or [is] disruptive to the normal operating procedures of the institution.” OP 608, § 826(B)(3).

 217. Id. § 828(2); 15 Calif. Code Reg. § 3378.1.




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218. 15 Calif. Code Reg. § 3378(e).

219. OP 608, § 826(A).

220. See Phone Interview with Joseph Schlesinger (17 April 2013); Phone Interview with Kathrin Smith, wife
of death row prisoner (18 April 2013) (notes on file with author); Interview with Sarah Chester (9 May 2013).

221. In an active federal lawsuit, CCR is currently challenging the procedures by which prisoners in California’s
Pelican Bay State Prison are placed into solitary confinement as a result of their validation as gang affiliates, as
well as conditions of confinement in these isolation units. See Second Am. Compl., Ashker et al. v. Governor
of Cal., et. al., No. 09-5796, dkt no. 136 (N.D. Cal. 10 Sept. 2012).

222. Interview with Sarah Chester (9 May 2013).

223. Interview with Joe Baxter (8 May 2013).

224. See Paige St. John, Inmates End California Prison Hunger Strike, L.A. Times, 5 Sept. 2013.

225. See Prisoner Hunger Strike Solidarity, San Quentin Demands, http://prisonerhungerstrikesolidarity.
wordpress.com/san-quentin-demands/.

226. Email from Sarah Chester, 3 Oct. 2013 (notes on file with author).

227. Id.

228. Id.

229. Phone Interview with Christine Thomas (3 Oct. 2013).

230. Interview with Kevin Cooper (6 May 2013).

231. Interview with Joseph Schlesinger (10 May 2013).

232. Interview with Jarvis Masters (8 May 2013) (“People who have been on death row for a very long time are
those with problems; they start to act out in a harmful way.”); Interview with Kevin Cooper (6 May 2013).

233. Interview with Christine Thomas (5 May 2013); Woodford Declaration, supra note 152, ¶ 53.

234. OP 608, § 420(d).

235. Woodford Declaration, supra note 152, ¶ 56.

236. Phone interview with Christine Thomas (3 Oct. 2013) (notes on file with author).

237. Interview with Steve Fama and Don Specter (7 May 2013); Interview with Sarah Chester (9 May 2013).

238. Interview with Steve Fama and Don Specter (7 May 2013); Woodford Declaration, supra note 152, ¶ 45.

239. Interview with Jarvis Masters (8 May 2013); Interview with Correll Thomas (5 May 2013).

240. Interview with Terry Kupers, M.D. (6 May 2013) (notes on file with author).

241. Interview with Correll Thomas (5 May 2013).

242. Id.

243. Id.

244. Id.

245. Interview with Kevin Cooper (6 May 2013).

246. Id.

247. Id.; Interview with Correll Thomas (5 May 2013).



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 248. Soering v. United Kingdom, 161 Eur. Ct. H.R. (ser. A) (1989), ¶ 106.

 249. People v. Anderson, 493 P.2d 880, 894 (Cal. 1972).

 250. Id. at 894 n. 7; Soering, 161 Eur. Ct. H.R. (ser. A), ¶ 106.

 251. People v. Anderson, 493 P.2d at 894.

 252. Interview with Steve Fama and Don Specter (7 May 2013).

 253. Interview with Kevin Cooper (6 May 2013) (“This place is unnatural; it makes people do things and
 become things they would not become. A lot of people here give up on life. They don’t live, they exist.”).

 254. Interview with Joseph Schlesinger (10 May 2013).

 255. ACLU, A Death Before Dying: Solitary Confinement on Death Row 6 (July 2013).

 256. See generally Stuart Grassian, Psychiatric Effects of Solitary Confinement, 22 Wash. U. J. L. & Pol’y 325
 (2006).

 257. Interim report of the Special Rapporteur on torture and other cruel, inhuman or degrading treatment or
 punishment, U.N. Doc. A/66/268 (5 Aug. 2011) (by Juan Méndez) [hereinafter Méndez 2011 Interim Report],
 ¶¶ 58-59.

 258. Phone Interview with Christine Thomas (5 Oct. 2013) (notes on file with author).

 259. Interview with Kevin Cooper (6 May 2013).

 260. U.S. Census Bureau , U.S. Dep’t of Commerce, , State & County QuickFacts, Louisiana, http://quickfacts.
 census.gov/qfd/states/22000.html (last revised 27 June 2013) [hereinafter QuickFacts Louisiana].

 261. This information is updated through January 23, 2012, as this is the most recent date to which comprehensive
 sentencing data is available. Data Tables, Interview with Nick Trenticosta, Director, Center for Equal Justice, in
 New Orleans, L.A. (10 Apr. 2013)(data on file with the author)[hereinafter, Trenticosta Data Tables].

 262. First degree murder is defined as the killing of a human being when the offender has a specific intent to kill or to
 inflict great bodily harm, “(1)and is engaged in the perpetration or attempted perpetration of aggravated kidnapping,
 second degree kidnapping, aggravated escape, aggravated arson, aggravated rape, forcible rape, aggravated burglary,
 armed robbery, assault by drive-by shooting, first degree robbery, second degree robbery, simple robbery, terrorism,
 cruelty to juveniles, or second degree cruelty to juveniles; (2) …upon a fireman, peace officer, or civilian employee
 of the Louisiana State Police Crime Laboratory or any other forensic laboratory engaged in the performance of his
 lawful duties, or when the specific intent to kill or to inflict great bodily harm is directly related to the victim’s status
 as a fireman, peace officer, or civilian employee; (3)… upon more than one person; (4) … and has offered, has been
 offered, has given, or has received anything of value for the killing; (5) …upon a victim who is under the age of
 twelve or sixty-five years of age or older; (6) …while engaged in the distribution, exchange, sale, or purchase, or any
 attempt thereof, of a controlled dangerous substance listed in Schedules I, II, III, IV, or V of the Uniform Controlled
 Dangerous Substances Law; (7) …and is engaged in the activities prohibited by R.S. 14:107.1(C)(1); (8) … and
 there has been issued by a judge or magistrate any lawful order prohibiting contact between the offender and the
 victim in response to threats of physical violence or harm which was served on the offender and is in effect at the time
 of the homicide; (9) …upon a victim who was a witness to a crime or was a member of the immediate family of a
 witness to a crime committed on a prior occasion and: (a) The killing was committed for the purpose of preventing
 or influencing the victim’s testimony in any criminal action or proceeding whether or not such action or proceeding
 had been commenced; or (b) The killing was committed for the purpose of exacting retribution for the victim’s
 prior testimony; (10) … upon a taxicab driver who is in the course and scope of his employment…; (11) … and the
 offender has previously acted with a specific intent to kill or inflict great bodily harm that resulted in the killing of one
 or more persons.” .” La. Rev. Stat. Ann. § 14:30 (A).

 263. The U.S. Supreme Court rejected the Supreme Court of Louisiana’s position that rape of a child could
 warrant the death penalty. Kennedy v. Louisiana, 554 U.S. 407 (2008).

 264. See Capital Defense Guidelines, LA. Admin. Code tit. 22, pt.XV

 265. Deborah Fins, Criminal Justice Project, NAACP Legal Def. & Educ. Fund, Death Row U.S.A. Spring
 2013 http://www.deathpenaltyinfo.org/documents/DRUSASpring2013.pdf.


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266. QuickFacts, Louisiana, supra note 260.

267. Trenticosta Data Tables, supra note 261.

268. Death Row Inmates by County, DPIC, http://www.deathpenaltyinfo.org/documents/DeathRowCounties.
xlsx [hereinafter Death Row Inmates by County].

269. U.S. Census Bureau, U.S. Dep’t of Commerce, State and County Quick Facts: East Baton Rouge Parish,
Louisiana, http://quickfacts.census.gov/qfd/states/22/22033.html (last revised 27 June 2013).

270. U.S. Census Bureau, U.S. Dep’t of Commerce, State and County Quick Facts: Caddo Parish Louisiana
http://quickfacts.census.gov/qfd/states/22/22017.html (last revised 27 June 2013) [hereinafter QuickFacts
Caddo Parish Louisiana].

271. U.S. Census Bureau, U.S. Dep’t of Commerce, State and County Quick Facts: Jefferson Parish Louisiana
http://quickfacts.census.gov/qfd/states/22/22051.html (last revised 27 June 2013).

272. Quick Facts: Louisiana, supra note 260.

273. Death Row Inmates by County, supra note 268.

274. Interview “H,” New Orleans, Louisiana (19 Apr. 2013)

275. See, e.g., Tushar Kansal, The Sentencing Project, Racial Disparity in Sentencing: A Review of the
Literature, (Marc Mauer ed., 2005) http://www.sentencingproject.org/doc/publications/rd_sentencing_review.
pdf

276. Glenn L. Pierce & Michael L. Radelet, Death Sentencing in East Baton Rouge Parish, 1990–2008, 71 La.
L. Rev. 647, 671 (2011).

277. Tim Lyman, East Baton Rouge (LA) Parish Study on Race, Homicides, and Death-Eligible Prosecutions,
1990-2008, (5 Aug. 2013) at 4, (unpublished report), http://ssrn.com/abstract=2096254 [hereinafter Caddo
(LA) Parish Study]; See also Pierce & Radelet, supra note 276

278. Pierce & Radelet, supra note 276.

279. Id. at 660.

280. Caddo (LA) Parish Study, supra note 277 at 2.

281. Id. at 5.

282. Id.

283. Pierce & Radelet, supra note 276, at 649, note 16, citing, Michael L. Radelet, Executions of Whites for
Crimes Against Blacks: Exceptions to the Rule?, 30 SOC. Q. 529, 537 (1989).

284. See Henry Weinstein, Jury to Come Under Justices’ Scrutiny. L.A. Times, (3 Dec. 2007), http://articles.
latimes.com/2007/dec/03/nation/na-jury3.

285. Jeffrey Gettleman, Prosecutors’ Morbid Neckties Stir Criticism, N.Y. Times, (5 Jan. 2003), http://www.
nytimes.com/2003/01/05/us/prosecutors-morbid-neckties-stir-criticism.html.

286. Id.

287. For more context on this period or the noose, see Jeannine Bell, The Hangman’s Noose and the Lynch
Mob: Hate Speech and the Jena Six 44 Harv. C.R. –C.L. L. Rev. 329 (2009); James W. Clarke, Without Fear
or Shame: Lynching, Capital Punishment and the Subculture of Violence in the American South, 28 B.J. Pol.
S. 269 (Apr. 1998).

288. As of 2012 the Caddo population was 257, 093, 49% white and 47.7% black. See: QuickFacts Caddo
Parish Louisiana, supra note 270.

289. See Cecelia Trenticosta and William C. Collins, Death and Dixie: How the Courthouse Confederate Flag
Influences Capital Cases in Louisiana, 27 Harv. J. Racial & Ethnic Just. 125 (2011).


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 290. Carolyn Roy and Jeff Ferrell, Confederate flag comes down Friday, KSLA, (17 Nov. 2011) http://www.
 ksla.com/Global/story.asp?S=15955226&autostart=true.

 291. Trenticosta and Collins, supra note 289, at 131, citing: Michael James Pfeifer, Rough Justice: Lynching
 and American Society, 1874-1947, 142 (2004) and Stewart Emory Tolnay & E.M. Beck, A Festival of
 Violence: An Analysis of Southern Lynchings, 1882-1930, 138 (1995).

 292. Death Row Inmates by County, supra note 268.

 293. Id.

 294. Caddo (LA) Parish Study, supra note 277, at 4.

 295. Id. at 91.

 296. Id. at 94.

 297. Samuel R. Sommers, On Racial Diversity and Group Decision Making: Identifying Multiple Effects of
 Racial Composition on Jury Deliberations, 90 J. Per. Soc. Psychol. 597 (2006).

 298. “Effective representation” is used because for non-death penalty felony trials, verdicts need not be unanimous,
 and the presence of one or even two African Americans can be negated by all whites voting to convict. Richard
 Bourke, Joe Hingston & Joel Devine, Louisiana Crisis Assistance Center, Black Strikes: A Study of the
 Racially Disparate Use of Peremptory Challenges by the Jefferson Parish District Attorney’s Office, (1 Sept.
 2003) http://www.blackstrikes.com/resources/report/black_strikes_report_september_2003.pdf.

 299. Justice Department Files Lawsuit Against Louisiana Alleging Violations of the National Voter Registration
 Act, Department of Justice, Office of Public Affairs, (12 July 2011) http://www.justice.gov/opa/pr/2011/July/11-
 crt-908.html

 300. See La. Code. Crim. Proc. Ann. § 797. See also La. Code. Crim. Proc. Ann. § 798 (1990) for additional
 information on cause.

 301. Witherspoon v. Illinois, 391 U.S. 510, 513 (1968).

 302. Note: this may also mean that African Americans are more likely to be dismissed from the jury pool under
 a peremptory challenge. Attorneys selecting the venire know that they could justify their striking of a particular
 juror in an appeal by expressing concern about the potential juror’s sentiments on the judicial system.

 303. Witherspoon, 391 U.S. 510.

 304. Mtn. for a New Trial, State of Louisiana v. Lamondre Tucker, Case 273-436 (La. App. 2 Cir. Section 4),
 at Ex. 16.

 305. Id. at Ex. 14.

 306. Id. at Ex. 15.

 307. State v. Crawford, 873 So. 2d 768, 784 (La.App. 5 Cir. 27 Apr. 2004) (upholding the trial court’s finding
 that the strike was not discriminatory).

 308. Id. at 783.

 309. State v. Harris, 820 So. 2d 471, 477 (La. 21 Jun. 2002) (finding a Batson violation for the strike).

 310. 476 U.S. 79, 106 (1986).

 311. Johnson v. California, 545 U.S. 162 (2005)(clarifying Batson standard); Batson, 476 U.S. at 93-94 (stating
 that the defendant makes a prima facie case of purposeful discrimination against a strike “by showing that the
 totality of the relevant facts gives rise to an inference of discriminatory purpose.”).

 312. Purkett v. Elem 514 U.S. 765, 768 (1995).

 313. Miller-El v. Dretke, 545 U.S. 231, 240 (2005).



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314. 552 U.S. 472 (2008).

315. Id. at 475-76.

316. Id. at 478.

317. 428 U.S. 153 (1976).

318. La. S. Ct. R. 28 § 1.

319. For a thoughtful and comprehensive examination of the proportionality review, see Bidish J. Sharma,
Smith Robert J. Smith & Ben G. Cohen, Struck by Lightning: Walker v. Georgia and Louisiana’s Proportionality
Review of Death Sentences 37 S.U. L. Rev. 65 (2009).

320. “If the jury’s recommendation of death is inconsistent with sentences imposed in similar cases in the same
jurisdiction, an inference of arbitrariness arises.” State v. Legrand, 864 So. 2d 89, 104 (La. 2003).

321. Sharma, Smith & Cohen, supra note 319 at 2.

322. Radley Balko, The Untouchables: America’s Misbehaving Prosecutors, And the System That Protects
Them, The Huff. Post (1 Aug. 2013) http://www.huffingtonpost.com/2013/08/01/prosecutorial-misconduct-
new-orleans-louisiana_n_3529891.html.

323. 552 U.S. 472.

324. Snyder v. Louisiana, 545 U.S. 1137 (2005).

325. Snyder, 552 U.S. 472.

326. State v. Snyder, 750 So. 2d 832, 861 (La. 1999).

327. State v. Snyder, 942 So. 2d 484, 499 (La. 2006).

328. Louisiana code prohibits the use of solitary confinement. See La. Rev.Stat. Ann. § 15:865 (2004).

329. See James Ridgeway and Jean Casella, Louisiana Attorney General Says Angola 3 “Have Never Been
Held in Solitary Confinement,” Solitary Watch, 21 Mar. 2013, http://solitarywatch.com/2013/03/21/louisiana-
attorney-general-says-angola-3-have-never-been-held-in-solitary-confinement/.

330. Id.

331. Notably, one of the Angola 3, Herman Wallace, was released on 1 October 2013, after having spent
41 years in conditions commonly understood to constitute solitary confinement. He died 3 days later. See
Associated Press, Herman Wallace: ‘Angola Three’ inmate dies days after release from solitary, The Guardian,
(4 Oct. 2013), http://www.theguardian.com/world/2013/oct/04/herman-wallace-angola-three-dies-solitary-
confinement.

332. The Istanbul Statement on the Use and Effects of Solitary Confinement, adopted 9 Dec. 2007, Int’l. Psych.
Trauma Symp. http://solitaryconfinement.org/uploads/Istanbul_expert_statement_on_sc.pdf.

333. Id.

334. James Ridgeway, God’s Own Warden, Mother Jones, (Jul./Aug. 2011) http://www.motherjones.com/
politics/2011/07/burl-cain-angola-prison.

335. Telephone interview with Monique Matthews Ruiz, 18 May 2013.

336. LA. Dep’t of Public Safety & Corr., Louisiana State Penitentiary, (“Tours at LSP”), http://www.doc.
la.gov/pages/correctional-facilities/louisiana-state-penitentiary/.

337. Polay Campos v. Peru, U.N. Hum. Rts. Com. Communic’n No. 577/1994 (6 Nov. 1997), U.N. Doc.
CCPR/C/61/D/577/1994, ¶ 8.5; Valasinas v. Lithuania, 2001 Eur. Ct. H.R. 483, ¶ 117 (the Eur. Ct. H.R. found
degrading treatment where the treatment in question, a strip search in the presence of a woman, “must have left
[the applicant] with feelings of anguish and inferiority capable of humiliating and debasing him.”).



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 338. A calculation taking into account both heat and humidity, as calculated by The Meteorological Conversions
 and Calculations: Heat Index Calculator, Nat’l Oceanic and Atmosph. Admin., U.S. Dept. of Commerce http://
 www.hpc.ncep.noaa.gov/html/heatindex.shtml (last modified 3 June 2013).

 339. Mem. in Support of the Motion for a Preliminary Injunction, Ball, et. al. v. LeBlanc, et. al., Civil Action No.
 13-368, US District Court, West Feliciana (18 Jun. 2013) [hereinafter Ball Preliminary Injunction Mem.] at 1.

 340. Id. at 2.

 341. Id.

 342. Id. at 17.

 343. Id.at 5.

 344. Interview “E” New Orleans Louisiana (21 May 2013).

 345. Id.

 346. Ball Preliminary Injunction Mem., supra note 339, at 5.

 347. Interview “C,”New Orleans Louisiana (21 May 2013).

 348. Interview “H,” New Orleans, Louisiana (9 Apr. 2013).

 349. ICCPR, supra note 7, at art. 19(2).

 350. Interview “B” New Orleans, Louisiana (8 Apr, 2013).

 351. Interview “B” New Orleans, Louisiana (6 May 2013); Telephone interview with Monique Matthews Ruiz,
 sister of exoneree (18 May 2013).

 352. Interview “H” New Orleans, Louisiana (19 Apr. 2013).

 353. Interview “I” New Orleans, Louisiana (8 Apr, 2013).

 354. Cindy Chang, Many doctors treating state’s prisoners have disciplinary records themselves, The Times-
 Picayune, (29 Jul. 2012) http://www.nola.com/crime/index.ssf/2012/07/many_doctors_treating_states_p.html.

 355. Id.

 356. For example, the sister of Ryan Matthews who was exonerated from death row, noted “We had to fight to
 get him his anti-seizure medicine. I wrote letters, I even offered to pay for the medicine myself…People started
 to realize he was innocent and started treating him with more dignity and respect. Still, it took about a year for
 him to start getting medicine regularly, and we worry that his time without the medicine did serious damage.”
 Telephone interview with Monique Matthews Ruiz, sister of exoneree (18 May 2013).

 357. State v. Perry, 610 So. 2d 746 (La. 1992).

 358. Id. at 748.

 359. Trenticosta Data Tables, supra note 261.

 360. Interview with John Thompson, death row exoneree, New Orleans, Louisiana (22 May 2013).

 361. John Holloway and Ronald M. Gauthier, Killing Time: An 18-Year Odyssey from Death Row to
 Freedom, (2010).

 362. John Thompson, The Prosecution Rests, but I Can’t, N.Y. Times, (9 Apr. 2011), www.nytimes.
 com/2011/04/10/opinion/10thompson.html.

 363. Connick v. Thompson, 131 U.S. 1350 (2011).

 364. Interview with John Thompson, former death row inmate and Founder and Director of Resurrection After
 Exoneration, New Orleans, Louisiana (22 May 2013).


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365. Interview “E” New Orleans Louisiana (21 May 2013).

366. Information about Execution Protocol and the use of Pentobarbital is available online. See State of
Louisiana, Department of Public Safety and Corrections, Corrections Services, Department Regulation No.
C-03-001, (1 Aug. 2012), available at http://www.scribd.com/doc/150605809/Louisiana-Execution-Protocol.

367. Lauren McGaughy, Louisiana releases execution protocol; inmate’s lawyer calls it ‘inadequate’, The Times
Picayune, (28 June 2013) http://www.nola.com/crime/index.ssf/2013/06/death_row_execution_protocol_l.
html. See also, Erik Eckholm and Katie Zezima, States Face Shortage of Key Lethal Injection Drug, N.Y.
Times, ( 21 Jan. 2011) http://www.nytimes.com/2011/01/22/us/22lethal.html?_r=0.

368. McGaughy, Louisiana releases execution protocol; inmate’s lawyer calls it ‘inadequate, supra note 367.’

369. Id.

370. Lenford Hamilton v. Jamaica, U.N. Hum. Rts. Com. Communic’n No. 333/1988 (7 Nov. 1988), U.N. Doc.
CCPR/C/50/D/333/1988 ¶ 10.

371. Medellín, RamírezCardenas and LealGarcía v. United States, Case 12.644, Inter-Am. Comm’n H.R.,
Report No. 90/09, OEA/Ser.L/V/II.135, doc. 37, ¶¶122-23 (2009); Rudolph Baptiste v. Grenada, Case 11.743,
Inter-Am. Comm’n H.R., Report No. 38/00, OEA/Ser.L/V/II.106, doc. 3, ¶¶ 64‐66 (2000); Desmond McKenzie
et al., v Jamaica, Cases. 12.023, 12.044, 12.107, 12.126 & 12.146, Inter-Am. Comm’n H.R., Report No. 41/100,
OEA/Ser.L/V/II.106, doc. 3 ¶¶ 169‐71 (2000).

372. See U.N. CERD Com., Gen. Rec. No. 31 supra note 53, at ¶¶ 1 (e) and (f).

373. CERD U.S. Concluding Observations 2001, supra note 74, at ¶ 17; see also CERD U.S. Concluding
Observations 2008, supra note 71, at ¶ 23 (noting the “persistent and significant racial disparities” evidenced
by studies, and recommending remedial action including a moratorium); U.N. CAT Com., U.S. Concluding
Observations 2006, supra note 122, at ¶ 29 (“the Committee remains concerned by studies according to which
the death penalty may be imposed disproportionately on ethnic minorities.”).

374. CERD, supra note 42, at art. 1, ¶ 1.

375. See D.H. and Others v the Czech Republic, 2007 Eur. Ct. H.R. 922 ¶ 180 (“the Court has in the past stated that
statistics could not in themselves disclose a practice which could be classified as discriminatory. However, in more
recent cases on the question of discrimination in which the applicants alleged a difference in the effect of a general
measure or de facto situation, the Court relied extensively on statistics produced by the parties to establish a
difference in treatment between two groups (men and women) in similar situations.” (internal citations omitted));
see, also Hoogendijk v. The Netherlands, 2005 Eur. Ct. H.R. 930; Opuz v. Turkey, 2009 Eur. Ct. H.R. 870 ¶183.

376. See, e.g. Horvath and Kiss v Hungary, 2012 Eur. Ct. H.R. 1206 ¶¶ 110, 129; D.H. and Others, 2007 Eur.
Ct. H.R. ¶¶ 190-193 (finding discrimination for a practice of sending Roma children to special schools).

377. Hoogendijk,2005 Eur. Ct. H.R. See, e.g. Mudric v. the Republic of Moldova, 2013 Eur. Ct. H.R. 685, ¶¶ 60,
62-64. One petitioner to the European Court of Human Rights argued that the domestic violence she suffered was
in part due to state discrimination and failure to protect women from violence, as required by international law. The
court found, based in part on statistics noting the disproportionate effect of domestic violence on women, that the
state violated the prohibition on non-discrimination and equal protection in the European Convention by failing to
implement an adequate legal framework to protect against acts of violence, in effect condoning the acts.

378. ICCPR, see supra note 7, at art. 25 (a)(c).

379. Zarb Adami v. Malta, 2006 Eur. Ct. H.R. 637, ¶ 75.

380. Id. at ¶ 76.

381. Id. at ¶¶ 56, 81-82.

382. See, e.g. U.N. Hum. Rts. Com., CCPR Gen. Comm. No. 32, supra note 57, at ¶ 25, citing Gridin v.
Russian Federation, U.N. Hum. Rts. Com. Communic’n No. 770/1997 (18 July 2000), U.N. Doc. CCPR/C/69/
D/770/1997¶ 8.2. See also, Gregory v. The United Kingdom, 1997 Eur. Ct. H.R 9, ¶ 43 (finding that “it is of
fundamental importance in a democratic society that the courts inspire confidence in the public and above all,
as far as criminal proceedings are concerned, in the accused”).



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 383. William Andrews, Case 11.139, Inter-Am. Comm’n H.R ¶ 159.

 384. Id. at ¶ 130.

 385. Sommers, supra note 297, at 608.

 386. See, inter alia, Equal Justice Initiative, Illegal Racial Discrimination in Jury Selection: A Continuing
 Legacy (Aug. 2010) http://www.eji.org/files/EJI%20Race%20and%20Jury%20Report.pdf ; Speedy Rice,
 National Association of Criminal Defense Lawyers, The Death Penalty in the United States, Response to
 the Periodic Report of the United States to the United Nations Committee on the Elimination of Racial
 Discrimination, 6 (Feb. 2008) http://www2.ohchr.org/english/bodies/cerd/docs/ngos/usa/USHRN21.doc (citing
 racially based jury selection as a “source of the racial disparity.”)

 387. In addressing the issue of a United States capital prosecution, where the primary consideration was the trial
 court’s failure to appropriately address a juror’s presentation of a note stating, “hang the [epithet]” alongside
 a drawing of a hanging stick figure, the Inter-American Commission also looked to the makeup of the jury.
 Mr. Andrews was an African-American male, and was tried by an all-white jury some of whom were members
 of the Mormon Church and adhered to its teachings that African-American people were inferior beings. .The
 Commission noted that “[t]he record … reflects ample evidence of “racial basis.” William Andrews, Case
 11.139, Inter-Am. Comm’n H.R ¶ 165.

 388. Bandajevsky v. Belarus, U.N. Hum. Rts. Com. Communic’n No. 1100/2002, (19 Apr. 2002) U.N. Doc.
 CCPR/C/86/D/1100/2002.

 389. U.N. Hum. Rts. Com., CCPR General Comment No. 32, supra note57, at ¶ 19 citing U.N. Hum. Rts.
 Com., Consideration of Reports Submitted by States Parties Under Article 40 of the Covenant, Concluding
 Observations of the Human Rights Committee: Slovakia, U.N. Doc. CCPR/C/79/Add.79. ¶ 18. ),¶ 18.

 390. Méndez 2012 Interim Report, supra note 39, at ¶78.

 391. Id. at ¶ 42.

 392. See Soering v. United Kingdom, 161 Eur. Ct. H.R. (ser. A) (1989).

 393. Id.

 394. Pratt & Morgan v. Jamaica, [1993] 4 All E.R. 769 (P.C.).

 395. Hilaire, Constantine, Benjamin et al. v. Trinidad and Tobago, Judgment, Inter-Am. Ct. H.R. (ser. C) No.
 94, ¶¶ 167-169 (21 June 2002).

 396. Méndez 2012 Interim Report, supra note 39, at ¶ 72.

 397. Lauren McGaughy, Angola prison warden apologizes for violating court order during death row heat
 lawsuit, , The Times Pic., 6 Aug. 2013, http://www.nola.com/crime/baton-rouge/index.ssf/2013/08/angola_
 warden_apologizes_for_v.html.

 398. For a definition of solitary confinement, see The Istanbul Statement on the Use and Effects of Solitary
 Confinement, adopted 9 Dec. 2007, Int’l. Psych. Trauma Symp. Istanbul, http://solitaryconfinement.org/uploads/
 Istanbul_expert_statement_on_sc.pdf (“Solitary confinement is the physical isolation of individuals who are
 confined to their cells for twenty-two to twenty-four hours a day. In many jurisdictions prisoners are allowed
 out of their cells for one hour of solitary exercise. Meaningful contact with other people is typically reduced to
 a minimum. The reduction in stimuli is not only quantitative but also qualitative. The available stimuli and the
 occasional social contacts are seldom freely chosen, are generally monotonous, and are often not empathetic.”).

 399. Méndez 2012 Interim Report, supra note 39, at ¶ 81.

 400. Id. at ¶ 48.

 401. Principles and Best Practices on the Protection of Persons Deprived of Their Liberty in the Americas,
 Inter-Am. Comm’n H.R., supra note 105, Principle XXII.

 402. Report on the Human Rights of Persons Deprived of Liberty in the Americas supra note 106, at ¶ 412.”

 403. Méndez 2011 Interim Report, supra note 257, at ¶ 56 citing G.B. v. Bulgaria, 2004 Eur. Ct. H. R. 112, ¶ 85.


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404. Montero-Aranguren et al (Detention Center of Catia) v. Venezuela, Judgment, Inter-Am. Ct. H.R. (ser. C)
No. 150. ¶ 94 (5 July 2006).

405. Méndez 2011 Interim Report, supra note 257, at ¶ 58.

406. Id. at ¶ 76.

407. Eur. Comm. for the Prevention of Torture and I.D.T.P., 21st General Report of the CPT, Doc. No. CPT/Inf
(2011) 28(2011), http://www.cpt.coe.int/en/annual/rep-21.pdf.

408. A.B. v. Russia, 2010 Eur. Ct. H. R. 1511, ¶¶ 99-113.

409. See, e.g. Standard Minimum Rules for the Treatment of Prisoners, supra note 6, at arts. 37, 44(2); Principles
and Best Practices on the Protection of Persons Deprive of Liberty in the Americas, supra note 105, at Principle
XVIII.

410. Estrella v. Uruguay, U.N. Hum. Rts. Com. Communic’n No. 84/1981, (29 Mar. 1983) U.N. Doc. CCPR/C/
OP/2, ¶ 9.2.

411. Body of Principles for the Protection of All Persons under Any Form of Detention or Imprisonment,
supra note 93, at Principle 18. 3 (“The right of a detained or imprisoned person to be visited by and to consult
and communicate, without delay or censorship and in full confidentiality, with his legal counsel may not be
suspended or restricted save in exceptional circumstances, to be specified by law or lawful regulations, when it
is considered indispensable by a judicial or other authority in order to maintain security and good order.”).

412. Garcia-Asto v. Peru, Judgment, Inter-Am. Ct. H.R. (ser. C) No. 137 ¶¶ 221, 229, 233 (25 Nov. 2005).

413. Id. at ¶ 225.

414. Id. at ¶ 230 (internal citations omitted); see also id. at ¶¶ 234-35.

415. Standard Minimum Rules for the Treatment of Prisoners, supra note 6, art. 11(a).

416. Id. at arts. 10, 14.

417. Id. at art. 21 (2).

418. See supra note 213.

419. See Body of Principles for the Protection of All Persons under Any Form of Detention or Imprisonment,
supra note 93, at Principle 30(2) (“A detained or imprisoned person shall have the right to be heard before
disciplinary action is taken. He shall have the right to bring such action to higher authorities for review.”).

420. Principles and Best Practices on the Protection of Persons Deprived of Their Liberty in the Americas,
Inter-Am. Comm’n H.R., supra note 105, at Principle XII(1).

421. Id.; Standard Minimum Rules for the Treatment of Prisoners, supra note 6, at art. 13 (“[E]very prisoner
may be enabled and required to have a bath or shower, at a temperature suitable to the climate, as frequently as
necessary for general hygiene according to season and geographical region . . .”).

422. Zakharkin v. Russia, 2010 Eur. Ct. H.R. 885, ¶ 125; Mathew v. The Netherlands, 2005 Eur. Ct. H.R. 652, ¶
214 (“The court finds it unacceptable that anyone should be detained in conditions involving a lack of adequate
protection against precipitation and extreme temperatures.”).

423. See, e.g., Slyusar v. Ukraine, U.N. CAT Com., Communic’n No. 353/2008 (16 Jan. 2011), U.N. Doc.
CAT/C/47/D/353/2008 (plaintiff held in temporary detention where the cell was near freezing, was beaten,
threatened with harm to family, and deprived of food and sleep found to constitute torture); Gultyayeva v.
Russia, 2010 Eur. Ct. H.R. 437 (finding that windowless and smoke-filled cells, infested with insects and
subject to extreme temperatures constituted inhuman and degrading treatment); Juvenile Reeducation Institute
v. Paraguay, Judgment, Inter-Am. Ct. H.R. (ser. C) No. 112, ¶ 69(e) (2 Sep. 2004) (noting prisoners suffered in
summer temperatures of not less than 40 degrees and the cells had only one ceiling fan); Garcia-Asto v. Peru,
Judgment, Inter-Am. Ct. H.R. (ser. C) No. 137 (25 Nov. 2005) (noting the lack of covers in a freezing cell,
alongside inter alia solitary confinement, limited contact with family, beating and poor medical care).

424. See, e.g., Garcia-Asto v. Peru, Preliminary Objection, Merits, Reparations and Costs, Inter-Am. Ct. H.R.


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 (ser. C) No. 137, ¶ 226 (25 Nov. 2005) (“[L]ack of adequate medical assistance does not meet the minimum
 material requirements for humane treatment . . . .”).

 425. See, inter alia, Application of the Inter-Am. Comm’n H.R. to the Inter-Am. Ct. H.R. in the case of Pedro
 Miguel Vera Vera (Case 11.535) v. Ecuador, ¶ 42 (2010) (“[T]he obligation of states to respect their physical
 integrity, not to use cruel or inhuman treatment, and to respect the inherent dignity of the human person,includes
 guaranteeing access to proper medical care.”); Principles for the Protection of Persons with Mental Illness and
 for the Improvement of Mental Health Care, G.A. Res. 46/119, U.N. Doc. A/RES/46/119, Principle 1.1 (17 Dec.
 1991) (“All persons have the right to the best available mental health care, which shall be part of the health and
 social care system.”); Standard Minimum Rules for the Treatment of Prisoners, supra note 6, at arts. 22-26;
 Cabal and Pasini v. Australia, U.N. Hum. Rts. Com. Communic’n No. 1020/2001 (7 Aug. 2003), U.N. Doc.
 CCPR/C/78/D/1020/2002, ¶ 7.7 (right to health governed by ICCPR arts. 6, 10); Principles and Best Practices on
 the Protection of Persons Deprived of Their Liberty in the Americas, Inter-Am. Comm’n H.R., supra note 105,
 Principle X (“Persons deprived of liberty shall have the right to health, understood to mean the enjoyment of
 the highest possible level of physical, mental, and social well-being, including amongst other aspects, adequate
 medical, psychiatric, and dental care; permanent availability of suitable and impartial medical personnel; access to
 free and appropriate treatment and medication; implementation of programs for health education and promotion,
 immunization, prevention and treatment of infectious, endemic, and other diseases; and special measures to meet
 the particular health needs of persons deprived of liberty belonging to vulnerable or high risk groups . . . .”).

 426. Standard Minimum Rules for the Treatment of Prisoners, supra note 6, at art. 22(2).

 427. Principles and Best Practices on the Protection of Persons Deprived of Their Liberty in the Americas,
 Inter-Am. Comm’n H.R., supra note 105.

 428. Standard Minimum Rules for the Treatment of Prisoners, supra note 6, at art. 82.

 429. Keenan v. The United Kingdom 2001 Eur. Ct. H.R. 242.

 430. Report on the Human Rights of Persons Deprived of Liberty in the Americas, supra note 106, at ¶¶ 313,
 319; César Alberto Mendoza et al. v. Argentina, Case 12.651, Inter-Am. Comm’n H.R., Report No. 172/10,
 OEA/Ser.L/V/II.130, doc. 22 rev. 1 ¶ 276 (2010). See also, World Health Organization, Preventing Suicide
 in Jails and Prisons 9-21 (2007) (providing guidelines on the prevention of suicide in detention).


 431. Report on the Human Rights of Persons Deprived of Liberty in the Americas, supra note 106, at ¶ 314.

 432. César Alberto Mendoza et al., Case 12.651, Inter-Am. Comm’n H.R., ¶ 271; see also, Barbato et al. v.
 Uruguay, U.N. Hum. Rts. Com. Communic’n No. 84/1981, (21 Oct. 1982) U.N. Doc. CCPR/C/OP/2 ¶ 9.2
 (“While the Committee cannot arrive at a definite conclusion as to whether [the victim] committed suicide,
 was driven to suicide or was killed by others while in custody; yet, the inescapable conclusion is that in all the
 circumstances the Uruguayan authorities either by act or by omission were responsible for not taking adequate
 measures to protect his life”).

 433. Report on the Human Rights of Persons Deprived of Liberty in the Americas, supra note 106, at ¶ 319.

 434. Id. at ¶ 575(9).

 435. The HRC has refused to consider the time spent of death row as a determining factor in a CIDT analysis,
 specifically because of this paradox. See LaVende v. Trinidad and Tobago, U.N. Hum. Rts. Com. Communic’n
 No. 554/1993, (17 Nov. 1997) U.N. Doc. CCPR/C/61/D/554/1993, ¶ 5.5 (“The second implication of making
 the time factor per se the determining one, i.e. the factor that turns detention on death row into a violation of the
 Covenant, is that it conveys a message to States parties retaining the death penalty that they should carry out a
 capital sentence as expeditiously as possible after it was imposed.... It should be stressed that by adopting the
 approach that prolonged detention on death row cannot, per se, be regarded as cruel and inhuman treatment or
 punishment under the Covenant, the Committee does not wish to convey the impression that keeping condemned
 prisoners on death row for many years is an acceptable way of treating them. It is not. However, the cruelty of
 the death row phenomenon is first and foremost a function of the permissibility of capital punishment under the
 Covenant. This situation has unfortunate consequences.”).




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                                                                                             Keep your eyes open


 Establishing the facts                                                                         Mobilisingtheinternationalcommunity
 Investigative and trial observation missions                                                   Permanentlobbyingbeforeintergovernmentalbodies
 Through activities ranging from sending trial observers to                                     FIDH supports its member organisations and local partners
 organising international investigative missions, FIDH has                                      in their efforts before intergovernmental organisations. FIDH
 developed, rigorous and impartial procedures to establish                                      alerts international bodies to violations of human rights and
 facts and responsibility. Experts sent to the field give their                                 refers individual cases to them. FIDH also takes part inthe
 time to FIDH on a voluntary basis.                                                             development of international legal instruments.
 FIDH has conducted more than 1 500 missions in over 100
 countries in the past 25 years. These activities reinforce FIDH’s                              Informing and reporting
 alert and advocacy campaigns.
                                                                                                Mobilising public opinion
 Supporting civil society                                                                       FIDH informs and mobilises public opinion. Press releases,
                                                                                                press conferences, open letters to authorities, mission reports,
 Training and exchange                                                                          urgent appeals, petitions, campaigns, website… FIDH makes
 FIDH organises numerous activities in partnership with its                                     full use of all means of communication to raise awareness of
 member organisations, in the countries in which they are                                       human rights violations.
 based. The core aim is to strengthen the influence and capacity
 of human rights activists to boost changes at the local level.




 Center for Constitutional Rights (CCR)
 The Center for Constitutional Rights is dedicated to advancing and                             Since our founding, CCR has provided legal skills in a unique and
 protecting the rights guaranteed by the United States Constitution                             effective manner and always with a progressive perspective. We
 and the Universal Declaration of Human Rights. Founded in 1966                                 use daring and innovative legal strategies which have produced
 by attorneys who represented civil rights movements in the South,                              many important precedents. CCR is often “ahead of the curve”
 CCR is a non-profit legal and educational organization committed                               in both identifying a problem and in suggesting novel or radical
 to the creative use of law as a positive force for social change.                              legal responses which, over time, become accepted and respected
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 direction, to empower poor communities and communities of
 color, to guarantee the rights of those with the fewest protections                            For more information about CCR:
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 work began on behalf of civil rights activists, and over the last four
 decades CCR has lent its expertise and support to virtually every
 popular movement for social justice.




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                     FIDH
               represents 178
          human rights organisations
              on
                 5 continents




inhuman or degrading treatment or punishment. Article 6: Everyone
has the right to recognition everywhere as a person before the law. Article 7: All are equal before the law and are entitled without any
discrimination to equal protection of the law. All are entitled to equal protection against any discrimination in violation of this Declaration
and against any incitement to such discrimination. Article 8: Everyone has the right to an effective remedy by the competent national
tribunals for acts violating the fundamental rights granted him by the constitution or by law. Article 9: No one shall be subjected to
arbitrary arrest, detention or exile. Article 10: Everyone is entitled in full equality to a fair and public hearing by an independent and
impartial tribunal, in the determination of his rights and obligations and of any criminal charge against him. Article 11: (1) Everyone
charged with a penal offence has the right to be                                                     presumed innocent until proved guilty




                               ABOUT FIDH
                               FIDH takes action for the protection of victims of human rights violations, for the
                               prevention of violations and to bring perpetrators to justice.

                               A broad mandate
                               FIDH works for the respect of all the rights set out in the Universal Declaration of
                               Human Rights: civil and political rights, as well as economic, social and cultural
                               rights.

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                               FIDH was established in 1922, and today unites 178 member organisations in
                               more than 100 countries around the world. FIDH coordinates and supports their
                               activities and provides them with a voice at the international level.

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                               Like its member organisations, FIDH is not linked to any party or religion and is
                               independent of all governments.




                               Find information concerning FIDH’s 178 member organisations on www.fidh.org
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                                Exhibit 5
    Notice of Appeal, Mitchell Sims v.
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                                Exhibit 6
     Declaration of Jeannie S. Woodford,
               August 27, 2010




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                                Exhibit 7
Ed Payne and Marino Castillo, Tennessee
to Use Electric Chair When Lethal Drugs
  Unavailable, CNN.com, May 23, 2014




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  Tennessee to use electric chair when lethal drugs unavailable
  By Ed Payne and Mariano Castillo , CNN
  updated 11:14 AM EDT, Fri May 23, 2014                                                               CNN.com


 (CNN) -- As controversies over lethal injection drugs surge, Tennessee has found a way around the issue:
 It is bringing back the electric chair.

 Eight states authorize electrocution as a method of execution but only at the inmate's discretion.

 Now Tennessee is the first state to make use of the electric chair mandatory when lethal injection drugs
 are unavailable.

 Tennessee Gov. Bill Haslam signed the measure into law Thursday.

 "This is unusual and might be both cruel and unusual punishment," said Richard Dieter, president of the
 Death Penalty Information Center.


 "No state says what Tennessee says. This is forcing the inmate to use electrocution," according to Dieter,
 who believes "the inmate would have an automatic Eighth Amendment challenge."

 The amendment protects against cruel and unusual punishment.

 "The electric chair is clearly a brutal alternative," Dieter said.

 Controversy over lethal injections has been brewing in recent years after European manufacturers,
 including the Denmark-based manufacturer of pentobarbital, banned U.S. prisons from using their drugs in
 executions.

 In April, a botched lethal injection in Oklahoma catapulted the issue back into the international spotlight. It
 was the state's first time using a new, three-drug cocktail for an execution. Execution witnesses said
 convicted murderer and rapist Clayton Lockett convulsed and writhed on the execution gurney and
 struggled to speak, before officials blocked the witnesses' view. Lockett died 43 minutes after being
 administered the first drug, CNN affiliate KFOR-TV in Oklahoma City reported.

 Earlier this year, a convicted murderer and rapist in Ohio, Dennis McGuire, appeared to gasp and
 convulse for at least 10 minutes before dying from the drug cocktail used in his execution.

 In 2009, the U.S.-based manufacturer of sodium thiopental, a drug also commonly used in executions,
 stopped making the painkiller.

 Many states have scrambled to find products from overseas or have used American-based compounding
 pharmacies to create substitutes.

 This month, a group of criminal justice experts recommended that federal and state governments move to
 a single lethal drug for executions instead of complex cocktails that can be botched.

 The controversy over legal injection drugs raises the question of when a case will arise to test the new
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 law.

 The last death penalty by electrocution in Tennessee was that of Daryl Holton in 2007.

 Holton -- a convicted murderer who killed his three young sons and his ex-wife's daughter -- elected to be
 killed by the electric chair.

 Before Holton's execution, Tennessee had not used the electric chair in 47 years.

 CNN's Dave Alsup contributed to this report.

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                                Exhibit 8
      Jon Herskovitz, Botched Oklahoma
       Execution Comes As Alternatives
       Emerge, Reuters, April, 30, 2014




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Botched Oklahoma execution comes as alternatives emerge from shadows
Wed, Apr 30 2014

By Jon Herskovitz
AUSTIN, Texas (Reuters) - Firing squads, electric chairs and other methods of execution seen as cruel or antiquated could be getting a fresh look after Oklahoma botched a
lethal injection, leaving the condemned inmate withering in apparent pain on its death chamber gurney.
Lawmakers in several states this year have put forward legislation to revise alternative methods of capital punishment in the face of a shortage of drugs once used for executions
as well as legal challenges to new lethal "cocktails."
Oklahoma was among those states, and it had faced lawsuits to stop the execution of convicted rapist and murderer Clayton Lockett, who died on Tuesday night of an apparent
heart attack minutes after a medical official on the scene called a halt to the botched process, saying something had gone wrong with the lethal injection.
"As long as there are problems with lethal injection, and there have been and there will be, there will always be legislators determined to kill people with some other method," said
Rick Halperin, director of the Embrey Human Rights Program at Southern Methodist University in Dallas.
So far this year, lawmakers in Tennessee have passed a measure to allow the state to electrocute death row inmates if it could not obtain drugs for lethal injections.
A Missouri lawmaker introduced a bill to set up firing squads and a gas chamber should there be problems with lethal injections. In Wyoming, lawmakers were also considering
firing squads.
The Virginia House in January passed a measure to make electrocution the default death penalty method if lethal injection drugs cannot be procured, but the bill was halted in the
state Senate.
The electric chair was used for years after the U.S. Supreme Court reinstated capital punishment in 1976, but it has also produced some horrific results.
There were reports in both Virginia and Alabama of an inmate being set on fire in the early 1980s, with the smell of charred flesh wafting through the death chambers.
In response, several states led by Texas began using lethal injections in the early 1980s, with the method of execution seen as more humane.
It is now the primary method of execution in all of the 32 U.S. states that use the death penalty as well as for federal death row convicts.
Since 1976, just over 1,200 inmates have been executed by lethal injection while 158 were electrocuted, 11 put to death in a gas chamber, three hanged and three killed by firing squad, according to the Death Penalty
Information Center, a capital punishment monitoring agency.
CRUEL AND UNUSUAL
Eight states still have electrocution on their books as an alternative method of execution, but with caveats. For example, Oklahoma can use the electric chair if its lethal injection protocol is found to be unconstitutional.
Virginia allows some inmates to die in the electric chair if they chose to do so. Its last electrocution using the chair was in 2013 when it put inmate Robert Gleason to death.
Larry Fitzgerald, a former spokesman for the Texas Department of Criminal Justice who has witnessed scores of executions, said the results of the state's lethal injections were always the same - with the inmate being
rendered unconscious and then dying from drugs designed to stop breathing and stop the heart.
About five minutes after all the drugs of a three-drug cocktail were administered, a physician would be called in to pronounce death.
However, there were a few rare times when inmates blurted "I can feel it," or "I can taste it," after the injection, Fitzgerald said.
The U.S. Supreme Court has ruled that executions do not need to be painless. In a pair of cases out of Kentucky, the court in 2008 dismissed the idea that the potential for pain made the three-drug cocktail method of
execution unlawful.
"Simply because an execution method may result in pain, either by accident or as an inescapable consequence of death, does not establish the sort of 'objectively intolerable risk of harm' that qualifies as cruel and
unusual," Chief Justice John Roberts wrote then.
The Eighth Amendment to the U.S. Constitution bans cruel and unusual punishment.
Megan McCracken a lawyer at the University of California, Berkeley School of Law's Death Penalty Clinic said that although lethal injections appear serene, the inmate can be suffering greatly.
"The prisoner could be conscious and in extraordinary agony, but once that paralytic is administered, we would never see it," McCracken said.
The lethal injection process in the United States underwent a fundamental change in 2011, when drug company Hospira stopped making sodium thiopental, due to concerns about its widespread use in executions. It was
the lone U.S. manufacturer of the drug.
The drug was an anesthetic that would render a person unconscious before the other drugs that would cause death were administered.
Texas changed to a single drug while other states scrambled to develop new lethal injection protocols.
The botched execution in Oklahoma has raised questions on whether these new protocols could be ruled as cruel and unusual punishment by the courts.
"This is really going to make the courts demand a whole lot more and they are not going to be as quick to allow executions to go forward unless the state can prove it knows what it is doing," said Richard Dieter,
executive director of the Death Penalty Information Center.
(Additional reporting Bredan O'Brien in Milwaukee, Wisconsin and David Ingram in New York; editing by G Crosse)


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